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                   EXHIBIT 7
                    FDA BLA
                   Approval Ltr
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  Our STN: BL 125742/0                                                    BLA APPROVAL

  BioNTech Manufacturing GmbH                                          August 23, 2021
  Attention: Amit Patel
  Pfizer Inc.
  235 East 42nd Street
  New York, NY 10017

  Dear Mr. Patel:

  Please refer to your Biologics License Application (BLA) submitted and received on
  May 18, 2021, under section 351(a) of the Public Health Service Act (PHS Act) for
  COVID-19 Vaccine, mRNA.

  LICENSING

  We are issuing Department of Health and Human Services U.S. License No. 2229 to
  BioNTech Manufacturing GmbH, Mainz, Germany, under the provisions of section
  351(a) of the PHS Act controlling the manufacture and sale of biological products. The
  license authorizes you to introduce or deliver for introduction into interstate commerce,
  those products for which your company has demonstrated compliance with
  establishment and product standards.

  Under this license, you are authorized to manufacture the product, COVID-19 Vaccine,
  mRNA, which is indicated for active immunization to prevent coronavirus disease 2019
  (COVID-19) caused by severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2)
  in individuals 16 years of age and older.

  The review of this product was associated with the following National Clinical Trial
  (NCT) numbers: NCT04368728 and NCT04380701.

  MANUFACTURING LOCATIONS

  Under this license, you are approved to manufacture COVID-19 Vaccine, mRNA drug
  substance at Wyeth BioPharma Division of Wyeth Pharmaceuticals LLC, 1 Burtt Road,
  Andover, Massachusetts. The final formulated product will be manufactured, filled,
  labeled and packaged at Pfizer Manufacturing Belgium NV, Rijksweg 12, Puurs,
  Belgium and at Pharmacia & Upjohn Company LLC, 7000 Portage Road, Kalamazoo,
  Michigan. The diluent, 0.9% Sodium Chloride Injection, USP, will be manufactured at
  Hospira, Inc., (b) (4)                                        and at Fresenius Kabi
  USA, LLC, (b) (4)                                    .



  U.S. Food & Drug Administration
  10903 New Hampshire Avenue
  Silver Spring, MD 20993
  w ww.fda.gov
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  You may label your product with the proprietary name, COMIRNATY, and market it in
  2.0 mL glass vials, in packages of 25 and 195 vials.
  We did not refer your application to the Vaccines and Related Biological Products
  Advisory Committee because our review of information submitted in your BLA, including
  the clinical study design and trial results, did not raise concerns or controversial issues
  that would have benefited from an advisory committee discussion.

  DATING PERIOD

  The dating period for COVID-19 Vaccine, mRNA shall be 9 months from the date of
  manufacture when stored between -90ºC to -60ºC (-130ºF to -76ºF). The date of
  manufacture shall be no later than the date of final sterile filtration of the formulated
  drug product (at Pharmacia & Upjohn Company LLC in Kalamazoo, Michigan, the date
  of manufacture is defined as the date of sterile filtration for the final drug product; at
  Pfizer Manufacturing Belgium NV in Puurs, Belgium, it is defined as the date of the (b) (4)

                     Following the final sterile filtration, (b)   (4)
                                                                            , no
  reprocessing/reworking is allowed without prior approval from the Agency. The dating
  period for your drug substance shall be (b) (4) when stored at (b) (4)            We have
  approved the stability protocols in your license application for the purpose of extending
  the expiration dating period of your drug substance and drug product under 21 CFR
  601.12.

  FDA LOT RELEASE

  Please submit final container samples of the product in final containers together with
  protocols showing results of all applicable tests. You may not distribute any lots of
  product until you receive a notification of release from the Director, Center for Biologics
  Evaluation and Research (CBER).

  BIOLOGICAL PRODUCT DEVIATIONS

  You must submit reports of biological product deviations under 21 CFR 600.14. You
  should identify and investigate all manufacturing deviations promptly, including those
  associated with processing, testing, packaging, labeling, storage, holding and
  distribution. If the deviation involves a distributed product, may affect the safety, purity,
  or potency of the product, and meets the other criteria in the regulation, you must
  submit a report on Form FDA 3486 to the Director, Office of Compliance and Biologics
  Quality, electronically through the eBPDR web application or at the address below.
  Links for the instructions on completing the electronic form (eBPDR) may be found on
  CBER's web site at https://www.fda.gov/vaccines-blood-biologics/report-problem-center-
  biologics-evaluation-research/biological-product-deviations:

         Food and Drug Administration
         Center for Biologics Evaluation and Research
         Document Control Center
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         10903 New Hampshire Ave.
         WO71-G112
         Silver Spring, MD 20993-0002

  MANUFACTURING CHANGES

  You must submit information to your BLA for our review and written approval under 21
  CFR 601.12 for any changes in, including but not limited to, the manufacturing, testing,
  packaging or labeling of COVID-19 Vaccine, mRNA, or in the manufacturing facilities.

  LABELING

  We hereby approve the draft content of labeling including Package Insert, submitted
  under amendment 74, dated August 21, 2021, and the draft carton and container labels
  submitted under amendment 63, dated August 19, 2021.

  CONTENT OF LABELING

  As soon as possible, but no later than 14 days from the date of this letter, please submit
  the final content of labeling (21 CFR 601.14) in Structured Product Labeling (SPL)
  format via the FDA automated drug registration and listing system, (eLIST) as described
  at http://www.fda.gov/ForIndustry/DataStandards/StructuredProductLabeling/
  default.htm. Content of labeling must be identical to the Package Insert submitted on
  August 21, 2021. Information on submitting SPL files using eLIST may be found in the
  guidance for industry SPL Standard for Content of Labeling Technical Qs and As at
  http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guida
  nces/UCM072392.pdf.

  The SPL will be accessible via publicly available labeling repositories.

  CARTON AND CONTAINER LABELS

  Please electronically submit final printed carton and container labels identical to the
  carton and container labels submitted on August 19, 2021, according to the guidance
  for industry Providing Regulatory Submissions in Electronic Format — Certain Human
  Pharmaceutical Product Applications and Related Submissions Using the eCTD
  Specifications at https://www.fda.gov/regulatory-information/search-fda-guidance-
  documents/providing-regulatory-submissions-electronic-format-certain-human-
  pharmaceutical-product-applications.

  All final labeling should be submitted as Product Correspondence to this BLA STN BL
  125742 at the time of use and include implementation information on Form FDA 356h.


  ADVERTISING AND PROMOTIONAL LABELING
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  You may submit two draft copies of the proposed introductory advertising and
  promotional labeling with Form FDA 2253 to the Advertising and Promotional Labeling
  Branch at the following address:
                       Food and Drug Administration
                       Center for Biologics Evaluation and Research
                       Document Control Center
                       10903 New Hampshire Ave.
                       WO71-G112
                       Silver Spring, MD 20993-0002

  You must submit copies of your final advertising and promotional labeling at the time of
  initial dissemination or publication, accompanied by Form FDA 2253 (21 CFR
  601.12(f)(4)).

  All promotional claims must be consistent with and not contrary to approved labeling.
  You should not make a comparative promotional claim or claim of superiority over other
  products unless you have substantial evidence or substantial clinical experience to
  support such claims (21 CFR 202.1(e)(6)).

  ADVERSE EVENT REPORTING

  You must submit adverse experience reports in accordance with the adverse
  experience reporting requirements for licensed biological products (21 CFR 600.80),
  and you must submit distribution reports at monthly intervals as described in 21 CFR
  600.81. For information on adverse experience reporting, please refer to the guidance
  for industry Providing Submissions in Electronic Format —Postmarketing Safety
  Reports for Vaccines at https://www.fda.gov/regulatory-information/search-fda-
  guidance-documents/providing-submissions-electronic-format-postmarketing-safety-
  reports-vaccines. For information on distribution reporting, please refer to the guidance
  for industry Electronic Submission of Lot Distribution Reports at
  http://www.fda.gov/BiologicsBloodVaccines/GuidanceComplianceRegulatoryInformation
  /Post-MarketActivities/LotReleases/ucm061966.htm.

  PEDIATRIC REQUIREMENTS

  Under the Pediatric Research Equity Act (PREA) (21 U.S.C. 355c), all applications for
  new active ingredients, new indications, new dosage forms, new dosing regimens, or
  new routes of administration are required to contain an assessment of the safety and
  effectiveness of the product for the claimed indication in pediatric patients unless this
  requirement is waived, deferred, or inapplicable.

  We are deferring submission of your pediatric studies for ages younger than 16 years
  for this application because this product is ready for approval for use in individuals 16
  years of age and older, and the pediatric studies for younger ages have not been
  completed.
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  Your deferred pediatric studies required under section 505B(a) of the Federal Food,
  Drug, and Cosmetic Act (FDCA) are required postmarketing studies. The status of
  these postmarketing studies must be reported according to 21 CFR 601.28 and section
  505B(a)(4)(C) of the FDCA. In addition, section 506B of the FDCA and 21 CFR 601.70
  require you to report annually on the status of any postmarketing commitments or
  required studies or clinical trials.

  Label your annual report as an “Annual Status Report of Postmarketing Study
  Requirement/Commitments” and submit it to the FDA each year within 60 calendar
  days of the anniversary date of this letter until all Requirements and Commitments
  subject to the reporting requirements under section 506B of the FDCA are released or
  fulfilled. These required studies are listed below:

     1. Deferred pediatric Study C4591001 to evaluate the safety and effectiveness of
        COMIRNATY in children 12 years through 15 years of age.

        Final Protocol Submission: October 7, 2020

        Study Completion: May 31, 2023

        Final Report Submission: October 31, 2023

     2. Deferred pediatric Study C4591007 to evaluate the safety and effectiveness of
        COMIRNATY in infants and children 6 months to <12 years of age.

        Final Protocol Submission: February 8, 2021

        Study Completion: November 30, 2023

        Final Report Submission: May 31, 2024

     3. Deferred pediatric Study C4591023 to evaluate the safety and effectiveness of
        COMIRNATY in infants <6 months of age.

        Final Protocol Submission: January 31, 2022

        Study Completion: July 31, 2024

        Final Report Submission: October 31, 2024

  Submit the protocols to your IND 19736, with a cross-reference letter to this BLA STN
  BL 125742 explaining that these protocols were submitted to the IND. Please refer to
  the PMR sequential number for each study/clinical trial and the submission number as
  shown in this letter.
  Submit final study reports to this BLA STN BL 125742. In order for your PREA PMRs to
  be considered fulfilled, you must submit and receive approval of an efficacy or a labeling
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  supplement. For administrative purposes, all submissions related to these required
  pediatric postmarketing studies must be clearly designated as:

     •   Required Pediatric Assessment(s)

  We note that you have fulfilled the pediatric study requirement for ages 16 through 17
  years for this application.

  POSTMARKETING REQUIREMENTS UNDER SECTION 505(o)

  Section 505(o) of the Federal Food, Drug, and Cosmetic Act (FDCA) authorizes FDA to
  require holders of approved drug and biological product applications to conduct
  postmarketing studies and clinical trials for certain purposes, if FDA makes certain
  findings required by the statute (section 505(o)(3)(A), 21 U.S.C. 355(o)(3)(A)).

  We have determined that an analysis of spontaneous postmarketing adverse events
  reported under section 505(k)(1) of the FDCA will not be sufficient to assess known
  serious risks of myocarditis and pericarditis and identify an unexpected serious risk of
  subclinical myocarditis.

  Furthermore, the pharmacovigilance system that FDA is required to maintain under
  section 505(k)(3) of the FDCA is not sufficient to assess these serious risks.

  Therefore, based on appropriate scientific data, we have determined that you are
  required to conduct the following studies:

     4. Study C4591009, entitled “A Non-Interventional Post-Approval Safety Study of
        the Pfizer-BioNTech COVID-19 mRNA Vaccine in the United States,” to evaluate
        the occurrence of myocarditis and pericarditis following administration of
        COMIRNATY.

         We acknowledge the timetable you submitted on August 21, 2021, which states
         that you will conduct this study according to the following schedule:

         Final Protocol Submission: August 31, 2021

         Monitoring Report Submission: October 31, 2022

         Interim Report Submission: October 31, 2023

         Study Completion: June 30, 2025

         Final Report Submission: October 31, 2025

     5. Study C4591021, entitled “Post Conditional Approval Active Surveillance Study
        Among Individuals in Europe Receiving the Pfizer-BioNTech Coronavirus
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        Disease 2019 (COVID-19) Vaccine,” to evaluate the occurrence of myocarditis
        and pericarditis following administration of COMIRNATY.

        We acknowledge the timetable you submitted on August 21, 2021, which states
        that you will conduct this study according to the following schedule:

        Final Protocol Submission: August 11, 2021

        Progress Report Submission: September 30, 2021

        Interim Report 1 Submission: March 31, 2022

        Interim Report 2 Submission: September 30, 2022

        Interim Report 3 Submission: March 31, 2023

        Interim Report 4 Submission: September 30, 2023

        Interim Report 5 Submission: March 31, 2024

        Study Completion: March 31, 2024

        Final Report Submission: September 30, 2024

     6. Study C4591021 substudy to describe the natural history of myocarditis and
        pericarditis following administration of COMIRNATY.

        We acknowledge the timetable you submitted on August 21, 2021, which states
        that you will conduct this study according to the following schedule:

        Final Protocol Submission: January 31, 2022

        Study Completion: March 31, 2024

        Final Report Submission: September 30, 2024

     7. Study C4591036, a prospective cohort study with at least 5 years of follow-up for
        potential long-term sequelae of myocarditis after vaccination (in collaboration
        with Pediatric Heart Network).

        We acknowledge the timetable you submitted on August 21, 2021, which states
        that you will conduct this study according to the following schedule:

        Final Protocol Submission: November 30, 2021

        Study Completion: December 31, 2026
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         Final Report Submission: May 31, 2027

     8. Study C4591007 substudy to prospectively assess the incidence of subclinical
        myocarditis following administration of the second dose of COMIRNATY in a
        subset of participants 5 through 15 years of age.

         We acknowledge the timetable you submitted on August 21, 2021, which states
         that you will conduct this assessment according to the following schedule:

         Final Protocol Submission: September 30, 2021

         Study Completion: November 30, 2023

         Final Report Submission: May 31, 2024

     9. Study C4591031 substudy to prospectively assess the incidence of subclinical
        myocarditis following administration of a third dose of COMIRNATY in a subset of
        participants 16 to 30 years of age.

         We acknowledge the timetable you submitted on August 21, 2021, which states
         that you will conduct this study according to the following schedule:

         Final Protocol Submission: November 30, 2021

         Study Completion: June 30, 2022

         Final Report Submission: December 31, 2022

  Please submit the protocols to your IND 19736, with a cross-reference letter to this BLA
  STN BL 125742 explaining that these protocols were submitted to the IND. Please refer
  to the PMR sequential number for each study/clinical trial and the submission number
  as shown in this letter.

  Please submit final study reports to the BLA. If the information in the final study report
  supports a change in the label, the final study report must be submitted as a
  supplement to this BLA STN BL 125742. For administrative purposes, all submissions
  related to these postmarketing studies required under section 505(o) must be submitted
  to this BLA and be clearly designated as:

     •   Required Postmarketing Correspondence under Section 505(o)
     •   Required Postmarketing Final Report under Section 505(o)
     •   Supplement contains Required Postmarketing Final Report under Section
         505(o)

  Section 505(o)(3)(E)(ii) of the FDCA requires you to report periodically on the status of
  any study or clinical trial required under this section. This section also requires you to
  periodically report to FDA on the status of any study or clinical trial otherwise
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   undertaken to investigate a safety issue. In addition, section 506B of the FDCA and 21
   CFR 601.70 require you to report annually on the status of any postmarketing
   commitments or required studies or clinical trials.

   You must describe the status in an annual report on postmarketing studies for this
   product. Label your annual report as an Annual Status Report of Postmarketing
   Requirements/Commitments and submit it to the FDA each year within 60 calendar
   days of the anniversary date of this letter until all Requirements and Commitments
   subject to the reporting requirements of section 506B of the FDCA are fulfilled or
   released. The status report for each study should include:

      •   the sequential number for each study as shown in this letter;
      •   information to identify and describe the postmarketing requirement;
      •   the original milestone schedule for the requirement;
      •   the revised milestone schedule for the requirement, if appropriate;
      •   the current status of the requirement (i.e., pending, ongoing, delayed, terminated,
          or submitted); and,
      •   an explanation of the status for the study or clinical trial. The explanation should
          include how the study is progressing in reference to the original projected
          schedule, including, the patient accrual rate (i.e., number enrolled to date and the
          total planned enrollment).

   As described in 21 CFR 601.70(e), we may publicly disclose information regarding
   these postmarketing studies on our website at http://www.fda.gov/Drugs/Guidance
   ComplianceRegulatoryInformation/Post-marketingPhaseIVCommitments/default.htm.

   We will consider the submission of your annual report under section 506B of the FDCA
   and 21 CFR 601.70 to satisfy the periodic reporting requirement under section
   505(o)(3)(E)(ii) provided that you include the elements listed in section 505(o) and 21
   CFR 601.70. We remind you that to comply with section 505(o), your annual report
   must also include a report on the status of any study or clinical trial otherwise
   undertaken to investigate a safety issue. Failure to periodically report on the status of
   studies or clinical trials required under section 505(o) may be a violation of FDCA
   section 505(o)(3)(E)(ii) and could result in regulatory action.

   POSTMARKETING COMMITMENTS SUBJECT TO REPORTING REQUIREMENTS
   UNDER SECTION 506B

   We acknowledge your written commitments as described in your letter of
   August 21, 2021 as outlined below:

      10. Study C4591022, entitled “Pfizer-BioNTech COVID-19 Vaccine Exposure during
          Pregnancy: A Non-Interventional Post-Approval Safety Study of Pregnancy and
          Infant Outcomes in the Organization of Teratology Information Specialists
          (OTIS)/MotherToBaby Pregnancy Registry.”

          Final Protocol Submission: July 1, 2021
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          Study Completion: June 30, 2025

          Final Report Submission: December 31, 2025

      11. Study C4591007 substudy to evaluate the immunogenicity and safety of lower
         dose levels of COMIRNATY in individuals 12 through <30 years of age.

          Final Protocol Submission: September 30, 2021

          Study Completion: November 30, 2023

          Final Report Submission: May 31, 2024

      12. Study C4591012, entitled “Post-emergency Use Authorization Active Safety
          Surveillance Study Among Individuals in the Veteran’s Affairs Health System
          Receiving Pfizer-BioNTech Coronavirus Disease 2019 (COVID-19) Vaccine.”

          Final Protocol Submission: January 29, 2021

          Study Completion: June 30, 2023

          Final Report Submission: December 31, 2023

      13. Study C4591014, entitled “Pfizer-BioNTech COVID-19 BNT162b2 Vaccine
          Effectiveness Study - Kaiser Permanente Southern California.”

          Final Protocol Submission: March 22, 2021

          Study Completion: December 31, 2022

          Final Report Submission: June 30, 2023

   Please submit clinical protocols to your IND 19736, and a cross-reference letter to this
   BLA STN BL 125742 explaining that these protocols were submitted to the IND. Please
   refer to the PMC sequential number for each study/clinical trial and the submission
   number as shown in this letter.

   If the information in the final study report supports a change in the label, the final study
   report must be submitted as a supplement. Please use the following designators to
   prominently label all submissions, including supplements, relating to these
   postmarketing study commitments as appropriate:

      •   Postmarketing Commitment – Correspondence Study Update
      •   Postmarketing Commitment – Final Study Report
      •   Supplement contains Postmarketing Commitment – Final Study Report
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   For each postmarketing study subject to the reporting requirements of 21 CFR 601.70,
   you must describe the status in an annual report on postmarketing studies for this
   product. Label your annual report as an Annual Status Report of Postmarketing
   Requirements/Commitments and submit it to the FDA each year within 60 calendar
   days of the anniversary date of this letter until all Requirements and Commitments
   subject to the reporting requirements of section 506B of the FDCA are fulfilled or
   released. The status report for each study should include:

      •   the sequential number for each study as shown in this letter;
      •   information to identify and describe the postmarketing commitment;
      •   the original schedule for the commitment;
      •   the status of the commitment (i.e., pending, ongoing, delayed, terminated, or
          submitted); and,
      •   an explanation of the status including, for clinical studies, the patient accrual rate
          (i.e., number enrolled to date and the total planned enrollment).

   As described in 21 CFR 601.70(e), we may publicly disclose information regarding
   these postmarketing studies on our website at http://www.fda.gov/Drugs/Guidance
   ComplianceRegulatoryInformation/Post-marketingPhaseIVCommitments/default.htm.

   POST APPROVAL FEEDBACK MEETING

   New biological products qualify for a post approval feedback meeting. Such meetings
   are used to discuss the quality of the application and to evaluate the communication
   process during drug development and marketing application review. The purpose is to
   learn from successful aspects of the review process and to identify areas that could
   benefit from improvement. If you would like to have such a meeting with us, please
   contact the Regulatory Project Manager for this application.

   Sincerely,




   Mary A. Malarkey                                      Marion F. Gruber, PhD
   Director                                              Director
   Office of Compliance                                  Office of Vaccines
    and Biologics Quality                                 Research and Review
   Center for Biologics                                  Center for Biologics
    Evaluation and Research                               Evaluation and Research
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                      EXHIBIT 8
                      FDA EUA
                       Pfizer Ltr
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                                                                                    August 23, 2021

   Pfizer Inc.
   Attention: Ms. Elisa Harkins
   500 Arcola Road
   Collegeville, PA 19426

   Dear Ms. Harkins:

   On February 4, 2020, pursuant to Section 564(b)(1)(C) of the Federal Food, Drug, and Cosmetic
   Act (the FD&C Act or the Act), the Secretary of the Department of Health and Human Services
   (HHS) determined that there is a public health emergency that has a significant potential to affect
   national security or the health and security of United States citizens living abroad, and that
   involves the virus that causes Coronavirus Disease 2019 (COVID-19). 1 On the basis of such
   determination, the Secretary of HHS on March 27, 2020, declared that circumstances exist
   justifying the authorization of emergency use of drugs and biological products during the
   COVID-19 pandemic, pursuant to Section 564 of the Act (21 U.S.C. 360bbb-3), subject to terms
   of any authorization issued under that section. 2

   On December 11, 2020, the Food and Drug Administration (FDA) issued an Emergency Use
   Authorization (EUA) for emergency use of Pfizer-BioNTech COVID‑19 Vaccine for the
   prevention of COVID-19 for individuals 16 years of age and older pursuant to Section 564 of the
   Act. FDA reissued the letter of authorization on: December 23, 2020, 3 February 25, 2021, 4 May
   1
    U.S. Department of Health and Human Services, Determination of a Public Health Emergency and Declaration that
   Circumstances Exist Justifying Authorizations Pursuant to Section 564(b) of the Federal Food, Drug, and Cosmetic
   Act, 21 U.S.C. § 360bbb-3. February 4, 2020.
   2
    U.S. Department of Health and Human Services, Declaration that Circumstances Exist Justifying Authorizations
   Pursuant to Section 564(b) of the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 360bbb-3, 85 FR 18250
   (April 1, 2020).
   3
     In the December 23, 2020 revision, FDA removed reference to the number of doses per vial after dilution from the
   letter of authorization, clarified the instructions for vaccination providers reporting to VAERS, and made other
   technical corrections. FDA also revised the Fact Sheet for Healthcare Providers Administering Vaccine
   (Vaccination Providers) to clarify the number of doses of vaccine per vial after dilution and the instructions for
   reporting to VAERS. In addition, the Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination
   Providers) and the Fact Sheet for Recipients and Caregivers were revised to include additional information on safety
   monitoring and to clarify information about the availability of other COVID-19 vaccines.
   4
     In the February 25, 2021 revision, FDA allowed flexibility on the date of submission of monthly periodic safety
   reports and revised the requirements for reporting of vaccine administration errors by Pfizer Inc. The Fact Sheet for
   Health Care Providers Administering Vaccine (Vaccination Providers) was revised to provide an update to the
   storage and transportation temperature for frozen vials, direct the provider to the correct CDC website for
   information on monitoring vaccine recipients for the occurrence of immediate adverse reactions, to include data
   from a developmental toxicity study, and add adverse reactions that have been identified during post authorization
   use. The Fact Sheet for Recipients and Caregivers was revised to add adverse reactions that have been identified
   during post authorization use.
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   Page 2 – Pfizer Inc.


   10, 2021, 5 June 25, 2021, 6 and August 12, 2021. 7

   On August 23, 2021, FDA approved the biologics license application (BLA) submitted by
   BioNTech Manufacturing GmbH for COMIRNATY (COVID-19 Vaccine, mRNA) for active
   immunization to prevent COVID-19 caused by SARS-CoV-2 in individuals 16 years of age and
   older.

   On August 23, 2021, having concluded that revising this EUA is appropriate to protect the public
   health or safety under section 564(g)(2) of the Act, FDA is reissuing the August 12, 2021 letter
   of authorization in its entirety with revisions incorporated to clarify that the EUA will remain in
   place for the Pfizer-BioNTech COVID-19 vaccine for the previously-authorized indication and
   uses, and to authorize use of COMIRNATY (COVID-19 Vaccine, mRNA) under this EUA for
   certain uses that are not included in the approved BLA. In addition, the Fact Sheet for
   Healthcare Providers Administering Vaccine (Vaccination Providers) was revised to provide
   updates on expiration dating of the authorized Pfizer-BioNTech COVID-19 Vaccine and to
   update language regarding warnings and precautions related to myocarditis and pericarditis. The
   Fact Sheet for Recipients and Caregivers was updated as the Vaccine Information Fact Sheet for
   Recipients and Caregivers, which comprises the Fact Sheet for the authorized Pfizer-BioNTech
   COVID-19 Vaccine and information about the FDA-licensed vaccine, COMIRNATY (COVID-
   19 Vaccine, mRNA).

   Pfizer-BioNTech COVID‑19 Vaccine contains a nucleoside-modified messenger RNA
   (modRNA) encoding the viral spike (S) glycoprotein of SARS-CoV-2 formulated in lipid
   particles. COMIRNATY (COVID-19 Vaccine, mRNA) is the same formulation as the Pfizer-
   BioNTech COVID-19 Vaccine and can be used interchangeably with the Pfizer-BioNTech
   COVID-19 Vaccine to provide the COVID-19 vaccination series. 8
   5
     In the May 10, 2021 revision, FDA authorized Pfizer-BioNTech Vaccine for the prevention of COVID-19 in
   individuals 12 through 15 years of age, as well as for individuals 16 years of age and older. In addition, FDA
   revised the Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination Providers) to include the
   following Warning: “Syncope (fainting) may occur in association with administration of injectable vaccines, in
   particular in adolescents. Procedures should be in place to avoid injury from fainting.” In addition, the Fact Sheet
   for Recipients and Caregivers was revised to instruct vaccine recipients or their caregivers to tell the vaccination
   provider about fainting in association with a previous injection.
   6
    In the June 25, 2021 revision, FDA clarified terms and conditions that relate to export of Pfizer-BioNTech
   COVID‑19 Vaccine from the United States. In addition, the Fact Sheet for Healthcare Providers Administering
   Vaccine (Vaccination Providers) was revised to include a Warning about myocarditis and pericarditis following
   administration of the Pfizer-BioNTech COVID-19 Vaccine. The Fact Sheet for Recipients and Caregivers was
   updated to include information about myocarditis and pericarditis following administration of the Pfizer-BioNTech
   COVID‑19 Vaccine.
   7
    In the August 12, 2021 revision, FDA authorized a third dose of the Pfizer-BioNTech COVID-19 Vaccine
   administered at least 28 days following the two dose regimen of this vaccine in individuals 12 years of age or older
   who have undergone solid organ transplantation, or individuals 12 years of age or older who are diagnosed with
   conditions that are considered to have an equivalent level of immunocompromise.
   8
     The licensed vaccine has the same formulation as the EUA-authorized vaccine and the products can be used
   interchangeably to provide the vaccination series without presenting any safety or effectiveness concerns. The
   products are legally distinct with certain differences that do not impact safety or effectiveness.
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   For the December 11, 2020 authorization for individuals 16 years of age and older, FDA
   reviewed safety and efficacy data from an ongoing phase 1/2/3 trial in approximately 44,000
   participants randomized 1:1 to receive Pfizer-BioNTech COVID‑19 Vaccine or saline control.
   The trial has enrolled participants 12 years of age and older. FDA’s review at that time
   considered the safety and effectiveness data as they relate to the request for emergency use
   authorization in individuals 16 years of age and older. FDA’s review of the available safety data
   from 37,586 of the participants 16 years of age and older, who were followed for a median of
   two months after receiving the second dose, did not identify specific safety concerns that would
   preclude issuance of an EUA. FDA’s analysis of the available efficacy data from 36,523
   participants 12 years of age and older without evidence of SARS-CoV-2 infection prior to 7 days
   after dose 2 confirmed the vaccine was 95% effective (95% credible interval 90.3, 97.6) in
   preventing COVID-19 occurring at least 7 days after the second dose (with 8 COVID-19 cases in
   the vaccine group compared to 162 COVID-19 cases in the placebo group). Based on these data,
   and review of manufacturing information regarding product quality and consistency, FDA
   concluded that it is reasonable to believe that Pfizer-BioNTech COVID‑19 Vaccine may be
   effective. Additionally, FDA determined it is reasonable to conclude, based on the totality of the
   scientific evidence available, that the known and potential benefits of Pfizer-BioNTech
   COVID‑19 Vaccine outweigh the known and potential risks of the vaccine, for the prevention of
   COVID-19 in individuals 16 years of age and older. Finally, on December 10, 2020, the
   Vaccines and Related Biological Products Advisory Committee voted in agreement with this
   conclusion.

   For the May 10, 2021 authorization for individuals 12 through 15 years of age, FDA reviewed
   safety and effectiveness data from the above-referenced, ongoing Phase 1/2/3 trial that has
   enrolled approximately 46,000 participants, including 2,260 participants 12 through 15 years of
   age. Trial participants were randomized 1:1 to receive Pfizer-BioNTech COVID-19 Vaccine or
   saline control. FDA’s review of the available safety data from 2,260 participants 12 through 15
   years of age, who were followed for a median of 2 months after receiving the second dose, did
   not identify specific safety concerns that would preclude issuance of an EUA. FDA’s analysis of
   SARS-CoV-2 50% neutralizing antibody titers 1 month after the second dose of Pfizer-
   BioNTech COVID-19 Vaccine in a subset of participants who had no serological or virological
   evidence of past SARS-CoV-2 infection confirm the geometric mean antibody titer in
   participants 12 through 15 years of age was non-inferior to the geometric mean antibody titer in
   participants 16 through 25 years of age. FDA’s analysis of available descriptive efficacy data
   from 1,983 participants 12 through 15 years of age without evidence of SARS-CoV-2 infection
   prior to 7 days after dose 2 confirm that the vaccine was 100% effective (95% confidence
   interval 75.3, 100.0) in preventing COVID-19 occurring at least 7 days after the second dose
   (with no COVID-19 cases in the vaccine group compared to 16 COVID-19 cases in the placebo
   group). Based on these data, FDA concluded that it is reasonable to believe that Pfizer-
   BioNTech COVID‑19 Vaccine may be effective in individuals 12 through 15 years of age.
   Additionally, FDA determined it is reasonable to conclude, based on the totality of the scientific
   evidence available, that the known and potential benefits of Pfizer-BioNTech COVID‑19
   Vaccine outweigh the known and potential risks of the vaccine, for the prevention of COVID-19
   in individuals 12 through 15 years of age.
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   For the August 12, 2021 authorization of a third dose of the Pfizer-BioNTech COVID-19
   Vaccine in individuals 12 years of age or older who have undergone solid organ transplantation,
   or individuals 12 years of age or older who are diagnosed with conditions that are considered to
   have an equivalent level of immunocompromise, FDA reviewed safety and effectiveness data
   reported in two manuscripts on solid organ transplant recipients. The first study was a single
   arm study conducted in 101 individuals who had undergone various solid organ transplant
   procedures (heart, kidney, liver, lung, pancreas) a median of 97±8 months earlier. A third dose
   of the Pfizer-BioNTech COVID-19 Vaccine was administered to 99 of these individuals
   approximately 2 months after they had received a second dose. Levels of total SARS-CoV-2
   binding antibodies meeting the pre-specified criteria for success occurred four weeks after the
   third dose in 26/59 (44.0%) of those who were initially considered to be seronegative and
   received a third dose of the Pfizer-BioNTech COVID-19 Vaccine; 67/99 (68%) of the entire
   group receiving a third vaccination were subsequently considered to have levels of antibodies
   indicative of a significant response. In those who received a third vaccine dose, the adverse
   event profile was similar to that after the second dose and no grade 3 or grade 4 events were
   reported. A supportive secondary study describes a double-blind, randomized-controlled study
   conducted in 120 individuals who had undergone various solid organ transplant procedures
   (heart, kidney, kidney-pancreas, liver, lung, pancreas) a median of 3.57 years earlier (range 1.99-
   6.75 years). A third dose of a similar mRNA vaccine (the Moderna COVID-19 vaccine) was
   administered to 60 individuals approximately 2 months after they had received a second dose
   (i.e., doses at 0, 1 and 3 months); saline placebo was given to 60 individuals or comparison. The
   primary outcome was anti-RBD antibody at 4 months greater than 100 U/mL. This titer was
   selected based on NHP challenge studies as well as a large clinical cohort study to indicate this
   antibody titer was protective. Secondary outcomes were based on a virus neutralization assay
   and polyfunctional T cell responses. Baseline characteristics were comparable between the two
   study arms as were pre-intervention anti-RBD titer and neutralizing antibodies. Levels of total
   SARS-CoV-2 binding antibodies indicative of a significant response occurred four weeks after
   the third dose in 33/60 (55.0%) of the Moderna COVID-19 vaccinated group and 10/57 (17.5%)
   of the placebo individuals. In the 60 individuals who received a third vaccine dose, the adverse
   event profile was similar to that after the second dose and no grade 3 or grade 4 adverse events
   were reported. Despite the moderate enhancement in antibody titers, the totality of data (i.e.,
   supportive paper by Hall et al. demonstrated efficacy of the product in the elderly and persons
   with co-morbidities) supports the conclusion that a third dose of the Pfizer-BioNTech COVID-19
   vaccine may be effective in this population, and that the known and potential benefits of a third
   dose of Pfizer-BioNTech COVID-19 Vaccine outweigh the known and potential risks of the
   vaccine for immunocompromised individuals at least 12 years of age who have received two
   doses of the Pfizer-BioNTech COVID-19 Vaccine and who have undergone solid organ
   transplantation, or who are diagnosed with conditions that are considered to have an equivalent
   level of immunocompromise.

   Having concluded that the criteria for issuance of this authorization under Section 564(c) of the
   Act are met, I am authorizing the emergency use of Pfizer-BioNTech COVID‑19 Vaccine for the
   prevention of COVID-19, as described in the Scope of Authorization section of this letter
   (Section II) and subject to the terms of this authorization. Additionally, as specified in
   subsection III.BB, I am authorizing use of COMIRNATY (COVID-19 Vaccine, mRNA) under
   this EUA when used to provide a two-dose regimen for individuals aged 12 through 15 years, or
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   to provide a third dose to individuals 12 years of age or older who have undergone solid organ
   transplantation or who are diagnosed with conditions that are considered to have an equivalent
   level of immunocompromise.

   I.         Criteria for Issuance of Authorization

   I have concluded that the emergency use of Pfizer-BioNTech COVID‑19 Vaccine for the
   prevention of COVID-19 when administered as described in the Scope of Authorization (Section
   II) meets the criteria for issuance of an authorization under Section 564(c) of the Act, because:

              A. SARS-CoV-2 can cause a serious or life-threatening disease or condition, including
                 severe respiratory illness, to humans infected by this virus;

              B. Based on the totality of scientific evidence available to FDA, it is reasonable to believe
                 that Pfizer-BioNTech COVID‑19 Vaccine may be effective in preventing COVID-19,
                 and that, when used under the conditions described in this authorization, the known and
                 potential benefits of Pfizer-BioNTech COVID‑19 Vaccine when used to prevent
                 COVID-19 outweigh its known and potential risks; and

              C. There is no adequate, approved, and available 9 alternative to the emergency use of
                 Pfizer-BioNTech COVID‑19 Vaccine to prevent COVID-19. 10

   II.        Scope of Authorization

   I have concluded, pursuant to Section 564(d)(1) of the Act, that the scope of this authorization is
   limited as follows:

          •   Pfizer Inc. will supply Pfizer-BioNTech COVID‑19 Vaccine either directly or through
              authorized distributor(s), 11 to emergency response stakeholders 12 as directed by the U.S.

   9
     Although COMIRNATY (COVID-19 Vaccine, mRNA) is approved to prevent COVID-19 in individuals 16 years
   of age and older, there is not sufficient approved vaccine available for distribution to this population in its entirety at
   the time of reissuance of this EUA. Additionally, there are no products that are approved to prevent COVID-19 in
   individuals age 12 through 15, or that are approved to provide an additional dose to the immunocompromised
   population described in this EUA.
   10
        No other criteria of issuance have been prescribed by regulation under Section 564(c)(4) of the Act.
   11
     “Authorized Distributor(s)” are identified by Pfizer Inc. or, if applicable, by a U.S. government entity, such as the
   Centers for Disease Control and Prevention (CDC) and/or other designee, as an entity or entities allowed to
   distribute authorized Pfizer-BioNTech COVID‑19 Vaccine.
   12
     For purposes of this letter, “emergency response stakeholder” refers to a public health agency and its delegates
   that have legal responsibility and authority for responding to an incident, based on political or geographical
   boundary lines (e.g., city, county, tribal, territorial, State, or Federal), or functional (e.g., law enforcement or public
   health range) or sphere of authority to administer, deliver, or distribute vaccine in an emergency situation. In some
   cases (e.g., depending on a state or local jurisdiction’s COVID-19 vaccination response organization and plans),
   there might be overlapping roles and responsibilities among “emergency response stakeholders” and “vaccination
   providers” (e.g., if a local health department is administering COVID-19 vaccines; if a pharmacy is acting in an
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            government, including the Centers for Disease Control and Prevention (CDC) and/or
            other designee, for use consistent with the terms and conditions of this EUA;
        •   The Pfizer-BioNTech COVID‑19 Vaccine covered by this authorization will be
            administered by vaccination providers 13 and used only to prevent COVID-19 in
            individuals ages 12 and older; and
        •   Pfizer-BioNTech COVID‑19 Vaccine may be administered by a vaccination provider
            without an individual prescription for each vaccine recipient.

   This authorization also covers the use of the licensed COMIRNATY (COVID-19 Vaccine,
   mRNA) product when used to provide a two-dose regimen for individuals aged 12 through 15
   years, or to provide a third dose to individuals 12 years of age or older who have undergone solid
   organ transplantation or who are diagnosed with conditions that are considered to have an
   equivalent level of immunocompromise.

   Product Description

   The Pfizer-BioNTech COVID-19 Vaccine is supplied as a frozen suspension in multiple dose
   vials; each vial must be diluted with 1.8 mL of sterile 0.9% Sodium Chloride Injection, USP
   prior to use to form the vaccine. The Pfizer-BioNTech COVID-19 Vaccine does not contain a
   preservative.

   Each 0.3 mL dose of the Pfizer-BioNTech COVID-19 Vaccine contains 30 mcg of a nucleoside-
   modified messenger RNA (modRNA) encoding the viral spike (S) glycoprotein of SARS-CoV-2.
   Each dose of the Pfizer-BioNTech COVID-19 Vaccine also includes the following ingredients:
   lipids (0.43 mg (4-hydroxybutyl)azanediyl)bis(hexane-6,1-diyl)bis(2-hexyldecanoate), 0.05 mg
   2[(polyethylene glycol)-2000]-N,N-ditetradecylacetamide, 0.09 mg 1,2-distearoyl-sn-glycero-3-
   phosphocholine, and 0.2 mg cholesterol), 0.01 mg potassium chloride, 0.01 mg monobasic
   potassium phosphate, 0.36 mg sodium chloride, 0.07 mg dibasic sodium phosphate dihydrate,
   and 6 mg sucrose. The diluent (0.9% Sodium Chloride Injection) contributes an additional 2.16
   mg sodium chloride per dose.


   official capacity under the authority of the state health department to administer COVID-19 vaccines). In such
   cases, it is expected that the conditions of authorization that apply to emergency response stakeholders and
   vaccination providers will all be met.
   13
      For purposes of this letter, “vaccination provider” refers to the facility, organization, or healthcare provider
   licensed or otherwise authorized by the emergency response stakeholder (e.g., non-physician healthcare
   professionals, such as nurses and pharmacists pursuant to state law under a standing order issued by the state health
   officer) to administer or provide vaccination services in accordance with the applicable emergency response
   stakeholder’s official COVID-19 vaccination and emergency response plan(s) and who is enrolled in the CDC
   COVID-19 Vaccination Program. If the vaccine is exported from the United States, a “vaccination provider” is a
   provider that is authorized to administer this vaccine in accordance with the laws of the country in which it is
   administered. For purposes of this letter, “healthcare provider” also refers to a person authorized by the U.S.
   Department of Health and Human Services (e.g., under the PREP Act Declaration for Medical Countermeasures
   against COVID-19) to administer FDA-authorized COVID-19 vaccine (e.g., qualified pharmacy technicians and
   State-authorized pharmacy interns acting under the supervision of a qualified pharmacist). See, e.g., HHS. Fourth
   Amendment to the Declaration Under the Public Readiness and Emergency Preparedness Act for Medical
   Countermeasures Against COVID-19 and Republication of the Declaration. 85 FR 79190 (December 9, 2020).
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   The dosing regimen is two doses of 0.3 mL each, 3 weeks apart. A third dose may be
   administered at least 28 days following the second dose of the two dose regimen of this vaccine
   to individuals 12 years of age or older who have undergone solid organ transplantation, or
   individuals 12 years of age or older who are diagnosed with conditions that are considered to
   have an equivalent level of immunocompromise.

   The manufacture of the authorized Pfizer-BioNTech COVID‑19 Vaccine is limited to those
   facilities identified and agreed upon in Pfizer’s request for authorization.

   The Pfizer-BioNTech COVID-19 Vaccine vial label and carton labels are clearly marked for
   “Emergency Use Authorization.” The Pfizer-BioNTech COVID‑19 Vaccine is authorized to be
   distributed, stored, further redistributed, and administered by emergency response stakeholders
   when packaged in the authorized manufacturer packaging (i.e., vials and cartons), despite the
   fact that the vial and carton labels may not contain information that otherwise would be required
   under the FD&C Act.

   Pfizer-BioNTech COVID‑19 Vaccine is authorized for emergency use with the following
   product-specific information required to be made available to vaccination providers and
   recipients, respectively (referred to as “authorized labeling”):

      •   Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination Providers):
          Emergency Use Authorization (EUA) of Pfizer-BioNTech COVID‑19 Vaccine to Prevent
          Coronavirus Disease 2019 (COVID-19)

      •   Vaccine Information Fact Sheet for Recipients and Caregivers About COMIRNATY
          (COVID-19 Vaccine, mRNA) and Pfizer-BioNTech COVID-19 Vaccine to Prevent
          Coronavirus Disease (COVID-19).

   I have concluded, pursuant to Section 564(d)(2) of the Act, that it is reasonable to believe that
   the known and potential benefits of Pfizer-BioNTech COVID‑19 Vaccine, when used to prevent
   COVID-19 and used in accordance with this Scope of Authorization (Section II), outweigh its
   known and potential risks.

   I have concluded, pursuant to Section 564(d)(3) of the Act, based on the totality of scientific
   evidence available to FDA, that it is reasonable to believe that Pfizer-BioNTech COVID‑19
   Vaccine may be effective in preventing COVID-19 when used in accordance with this Scope of
   Authorization (Section II), pursuant to Section 564(c)(2)(A) of the Act.

   Having reviewed the scientific information available to FDA, including the information
   supporting the conclusions described in Section I above, I have concluded that Pfizer-BioNTech
   COVID‑19 Vaccine (as described in this Scope of Authorization (Section II)) meets the criteria set
   forth in Section 564(c) of the Act concerning safety and potential effectiveness.

   The emergency use of Pfizer-BioNTech COVID‑19 Vaccine under this EUA must be consistent
   with, and may not exceed, the terms of the Authorization, including the Scope of Authorization
   (Section II) and the Conditions of Authorization (Section III). Subject to the terms of this EUA and
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   under the circumstances set forth in the Secretary of HHS’s determination under Section
   564(b)(1)(C) described above and the Secretary of HHS’s corresponding declaration under Section
   564(b)(1), Pfizer-BioNTech COVID‑19 Vaccine is authorized to prevent COVID-19 in individuals
   12 years of age and older as described in the Scope of Authorization (Section II) under this EUA,
   despite the fact that it does not meet certain requirements otherwise required by applicable federal
   law.

   III.     Conditions of Authorization

   Pursuant to Section 564 of the Act, I am establishing the following conditions on this authorization:

   Pfizer Inc. and Authorized Distributor(s)

               A. Pfizer Inc. and authorized distributor(s) will ensure that the authorized Pfizer-
                  BioNTech COVID‑19 Vaccine is distributed, as directed by the U.S. government,
                  including CDC and/or other designee, and the authorized labeling (i.e., Fact Sheets)
                  will be made available to vaccination providers, recipients, and caregivers consistent
                  with the terms of this letter.

               B. Pfizer Inc. and authorized distributor(s) will ensure that appropriate storage and cold
                  chain is maintained until delivered to emergency response stakeholders’ receipt sites.

               C. Pfizer Inc. will ensure that the terms of this EUA are made available to all relevant
                  stakeholders (e.g., emergency response stakeholders, authorized distributors, and
                  vaccination providers) involved in distributing or receiving authorized Pfizer-
                  BioNTech COVID‑19 Vaccine. Pfizer Inc. will provide to all relevant stakeholders a
                  copy of this letter of authorization and communicate any subsequent amendments that
                  might be made to this letter of authorization and its authorized labeling.

               D. Pfizer Inc. may develop and disseminate instructional and educational materials (e.g.,
                  video regarding vaccine handling, storage/cold-chain management, preparation,
                  disposal) that are consistent with the authorized emergency use of the vaccine as
                  described in the letter of authorization and authorized labeling, without FDA’s review
                  and concurrence, when necessary to meet public health needs during an emergency.
                  Any instructional and educational materials that are inconsistent with the authorized
                  labeling are prohibited.

               E. Pfizer Inc. may request changes to this authorization, including to the authorized Fact
                  Sheets for the vaccine. Any request for changes to this EUA must be submitted to
                  Office of Vaccines Research and Review (OVRR)/Center for Biologics Evaluation
                  and Research (CBER). Such changes require appropriate authorization prior to
                  implementation.14

   14
     The following types of revisions may be authorized without reissuing this letter: (1) changes to the authorized
   labeling; (2) non-substantive editorial corrections to this letter; (3) new types of authorized labeling, including new
   fact sheets; (4) new carton/container labels; (5) expiration dating extensions; (6) changes to manufacturing
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               F. Pfizer Inc. will report to Vaccine Adverse Event Reporting System (VAERS):
                  • Serious adverse events (irrespective of attribution to vaccination);
                  • Cases of Multisystem Inflammatory Syndrome in children and adults; and
                  • Cases of COVID-19 that result in hospitalization or death, that are reported to
                      Pfizer Inc.
                  These reports should be submitted to VAERS as soon as possible but no later than
                  15 calendar days from initial receipt of the information by Pfizer Inc.

               G. Pfizer Inc. must submit to Investigational New Drug application (IND) number
                  19736 periodic safety reports at monthly intervals in accordance with a due date
                  agreed upon with the Office of Biostatistics and Epidemiology (OBE)/CBER
                  beginning after the first full calendar month after authorization. Each periodic safety
                  report is required to contain descriptive information which includes:
                  • A narrative summary and analysis of adverse events submitted during the
                      reporting interval, including interval and cumulative counts by age groups, special
                      populations (e.g., pregnant women), and adverse events of special interest;
                  • A narrative summary and analysis of vaccine administration errors, whether or
                      not associated with an adverse event, that were identified since the last reporting
                      interval;
                  • Newly identified safety concerns in the interval; and
                  • Actions taken since the last report because of adverse experiences (for example,
                      changes made to Healthcare Providers Administering Vaccine (Vaccination
                      Providers) Fact Sheet, changes made to studies or studies initiated).

               H. No changes will be implemented to the description of the product, manufacturing
                  process, facilities, or equipment without notification to and concurrence by FDA.

               I. All manufacturing facilities will comply with Current Good Manufacturing Practice
                  requirements.

               J. Pfizer Inc. will submit to the EUA file Certificates of Analysis (CoA) for each drug
                  product lot at least 48 hours prior to vaccine distribution. The CoA will include the
                  established specifications and specific results for each quality control test performed
                  on the final drug product lot.

               K. Pfizer Inc. will submit to the EUA file quarterly manufacturing reports, starting in
                  July 2021, that include a listing of all Drug Substance and Drug Product lots
                  produced after issuance of this authorization. This report must include lot number,
                  manufacturing site, date of manufacture, and lot disposition, including those lots that

   processes, including tests or other authorized components of manufacturing; (7) new conditions of authorization to
   require data collection or study. For changes to the authorization, including the authorized labeling, of the type
   listed in (3), (6), or (7), review and concurrence is required from the Preparedness and Response Team
   (PREP)/Office of the Center Director (OD)/CBER and the Office of Counterterrorism and Emerging Threats
   (OCET)/Office of the Chief Scientist (OCS).
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                 were quarantined for investigation or those lots that were rejected. Information on the
                 reasons for lot quarantine or rejection must be included in the report.

             L. Pfizer Inc. and authorized distributor(s) will maintain records regarding release of
                Pfizer-BioNTech COVID‑19 Vaccine for distribution (i.e., lot numbers, quantity,
                release date).

             M. Pfizer Inc. and authorized distributor(s) will make available to FDA upon request any
                records maintained in connection with this EUA.

             N. Pfizer Inc. will conduct post-authorization observational studies to evaluate the
                association between Pfizer-BioNTech COVID-19 Vaccine and a pre-specified list of
                adverse events of special interest, along with deaths and hospitalizations, and severe
                COVID-19. The study population should include individuals administered the
                authorized Pfizer-BioNTech COVID-19 Vaccine under this EUA in the general U.S.
                population (12 years of age and older), populations of interest such as healthcare
                workers, pregnant women, immunocompromised individuals, subpopulations with
                specific comorbidities. The studies should be conducted in large scale databases with
                an active comparator. Pfizer Inc. will provide protocols and status update reports to
                the IND 19736 with agreed-upon study designs and milestone dates.

   Emergency Response Stakeholders

             O. Emergency response stakeholders will identify vaccination sites to receive authorized
                Pfizer-BioNTech COVID‑19 Vaccine and ensure its distribution and administration,
                consistent with the terms of this letter and CDC’s COVID-19 Vaccination Program.

             P. Emergency response stakeholders will ensure that vaccination providers within their
                jurisdictions are aware of this letter of authorization, and the terms herein and any
                subsequent amendments that might be made to the letter of authorization, instruct
                them about the means through which they are to obtain and administer the vaccine
                under the EUA, and ensure that the authorized labeling [i.e., Fact Sheet for Healthcare
                Providers Administering Vaccine (Vaccination Providers) and Vaccine Information
                Fact Sheet for Recipients and Caregivers] is made available to vaccination providers
                through appropriate means (e.g., e-mail, website).

             Q. Emergency response stakeholders receiving authorized Pfizer-BioNTech COVID‑19
                Vaccine will ensure that appropriate storage and cold chain is maintained.

   Vaccination Providers

             R. Vaccination providers will administer the vaccine in accordance with the
                authorization and will participate and comply with the terms and training required by
                CDC’s COVID-19 Vaccination Program.
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             S. Vaccination providers will provide the Vaccine Information Fact Sheet for Recipients
                and Caregivers to each individual receiving vaccination and provide the necessary
                information for receiving their second dose and/or third dose.

             T. Vaccination providers administering the vaccine must report the following
                information associated with the administration of the vaccine of which they become
                aware to VAERS in accordance with the Fact Sheet for Healthcare Providers
                Administering Vaccine (Vaccination Providers):
                • Vaccine administration errors whether or not associated with an adverse event
                • Serious adverse events (irrespective of attribution to vaccination)
                • Cases of Multisystem Inflammatory Syndrome in children and adults
                • Cases of COVID-19 that result in hospitalization or death
                 Complete and submit reports to VAERS online at
                 https://vaers.hhs.gov/reportevent.html. The VAERS reports should include the
                 words “Pfizer-BioNTech COVID‑19 Vaccine EUA” in the description section of
                 the report. More information is available at vaers.hhs.gov or by calling 1-800-822-
                 7967. To the extent feasible, report to Pfizer Inc. by contacting 1-800-438-1985 or
                 by providing a copy of the VAERS form to Pfizer Inc.; Fax: 1-866-635-8337.

             U. Vaccination providers will conduct any follow-up requested by the U.S
                government, including CDC, FDA, or other designee, regarding adverse events to
                the extent feasible given the emergency circumstances.

             V. Vaccination providers will monitor and comply with CDC and/or emergency
                response stakeholder vaccine management requirements (e.g., requirements
                concerning obtaining, tracking, and handling vaccine) and with requirements
                concerning reporting of vaccine administration data to CDC.

             W. Vaccination providers will ensure that any records associated with this EUA are
                maintained until notified by FDA. Such records will be made available to CDC,
                and FDA for inspection upon request.
   Conditions Related to Printed Matter, Advertising, and Promotion

             X. All descriptive printed matter, advertising, and promotional material, relating to the
                use of the Pfizer-BioNTech COVID‑19 Vaccine shall be consistent with the
                authorized labeling, as well as the terms set forth in this EUA, and meet the
                requirements set forth in section 502(a) and (n) of the FD&C Act and FDA
                implementing regulations.

             Y. All descriptive printed matter, advertising, and promotional material relating to the
                use of the Pfizer-BioNTech COVID‑19 Vaccine clearly and conspicuously shall state
                that:
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                   •   This product has not been approved or licensed by FDA, but has been
                       authorized for emergency use by FDA, under an EUA to prevent Coronavirus
                       Disease 2019 (COVID-19) for use in individuals 12 years of age and older; and
                   •   The emergency use of this product is only authorized for the duration of the
                       declaration that circumstances exist justifying the authorization of emergency
                       use of the medical product under Section 564(b)(1) of the FD&C Act unless the
                       declaration is terminated or authorization revoked sooner.

   Condition Related to Export

             Z. If the Pfizer-BioNTech COVID‑19 Vaccine is exported from the United States,
                conditions C, D, and O through Y do not apply, but export is permitted only if 1) the
                regulatory authorities of the country in which the vaccine will be used are fully
                informed that this vaccine is subject to an EUA and is not approved or licensed by
                FDA and 2) the intended use of the vaccine will comply in all respects with the laws
                of the country in which the product will be used. The requirement in this letter that
                the authorized labeling (i.e., Fact Sheets) be made available to vaccination providers,
                recipients, and caregivers in condition A will not apply if the authorized labeling (i.e.,
                Fact Sheets) are made available to the regulatory authorities of the country in which
                the vaccine will be used.

   Conditions With Respect to Use of Licensed Product

             AA. COMIRNATY (COVID-19 Vaccine, mRNA) is now licensed for individuals
               16 years of age and older. There remains, however, a significant amount of Pfizer-
               BioNTech COVID-19 vaccine that was manufactured and labeled in accordance with
               this emergency use authorization. This authorization thus remains in place with
               respect to that product for the previously-authorized indication and uses (i.e., for use
               to prevent COVID-19 in individuals 12 years of age and older with a two-dose
               regimen, and to provide a third dose to individuals 12 years of age or older who have
               undergone solid organ transplantation, or who are diagnosed with conditions that are
               considered to have an equivalent level of immunocompromise).

             BB. This authorization also covers the use of the licensed COMIRNATY (COVID-19
                Vaccine, mRNA) product when used to provide a two-dose regimen for individuals
                aged 12 through 15 years, or to provide a third dose to individuals 12 years of age or
                older who have undergone solid organ transplantation or who are diagnosed with
                conditions that are considered to have an equivalent level of immunocompromise.
                Conditions A through W in this letter apply when COMIRNATY (COVID-19
                Vaccine, mRNA) is provided for the uses described in this subsection III.BB, except
                that product manufactured and labeled in accordance with the approved BLA is
                deemed to satisfy the manufacturing, labeling, and distribution requirements of this
                authorization.

   IV.    Duration of Authorization
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   This EUA will be effective until the declaration that circumstances exist justifying the
   authorization of the emergency use of drugs and biological products during the COVID-19
   pandemic is terminated under Section 564(b)(2) of the Act or the EUA is revoked under Section
   564(g) of the Act.

                                              Sincerely,

                                                     --/S/--

                                              ____________________________
                                              RADM Denise M. Hinton
                                              Chief Scientist
                                              Food and Drug Administration


   Enclosures
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                       EXHIBIT 9
                       Boyce Ltr
                        to HCP
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August 23, 2021
RE: Pfizer-BioNTech COVID-19 Vaccine IMPORTANT PRODUCT INFORMATION
Certain Pfizer-BioNTech COVID-19 Vaccine Lots authorized for Emergency Use                           Manufactured for
comply with the Biologics License Application (BLA)                                                  BioNTech Manufacturing GmbH
                                                                                                     An der Goldgrube 12
                                                                                                     55131 Mainz, Germany
                                                                                                     Marketing Authorization Holder
Dear Healthcare Professional,                                                                        Manufactured by
Pfizer, Inc. would like to provide you with updated and very important information related to the    Pfizer Inc.
                                                                                                     New York, NY 11017
Pfizer-BioNTech COVID-19 Vaccine, authorized for emergency use by FDA under an Emergency Use
                                                                                                     US License No. 2229
Authorization (EUA). On August 23, 2021, FDA approved BioNTech’s Biologics License Application
(BLA) for COMIRNATY (COVID-19 Vaccine, mRNA), under U.S. License No. 2229. Many lots of
Pfizer-BioNTech COVID-19 Vaccine are in circulation that were authorized for emergency use, and
are labelled in accordance with the EUA. Some of these lots comply with the recently approved
BLA for COMIRNATY and are therefore considered “BLA-approved” lots for administration
to individuals 16 years of age and older. The lots that are BLA-approved for administration
may be found at cvdvaccine-us.com/resources. For these lots, please see the COMIRNATY®
full prescribing information for indication and usage, dosing and administration, and important
safety information. This information can be found by scanning the QR code. Please note, it is
imperative that you not discard any available EUA lots. These lots continue to be authorized
for use under EUA in individuals 12 years of age and older, and for use as a third dose in certain
immunocompromised individuals. You can continue to use them up to the date of expiry.
Sincerely,



Donna Boyce
Senior Vice President, Global Regulatory Affairs



                                                                                                                           2021TA035 v1.0
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If you plan to redistribute the Pfizer-BioNTech COVID-19
Vaccine, please read on…                                                                         Manufactured for
                                                                                                 BioNTech Manufacturing GmbH
                                                                                                 An der Goldgrube 12
                                                                                                 55131 Mainz, Germany
                                                                                                 Marketing Authorization Holder

                                                                                                 Manufactured by
WHAT?                 If you plan on redistributing the Pfizer-BioNTech COVID-19 Vaccine,        Pfizer Inc.
                                                                                                 New York, NY 11017
                      you must include at least one copy of the letter with QR code in each of
                                                                                                 US License No. 2229
                      the smaller, portable packaging containers being used for transport.


WHY?                  Once the Pfizer-BioNTech COVID-19 Vaccine arrives at its final
                      destination, the QR code may be used to look up the lot number
                      on the carton to determine if the product is BLA-approved.


HOW?                  To create additional copies of the letter to include in smaller
                      transport containers, you may:
                      • Make copies of this letter using a copy machine
                      • Make printouts by visiting cvdvaccine-us.com/resources


For questions related to this notification please contact
Pfizer Customer Service at 1-800-666-7248.




                                                                                                                       2021TA035 v1.0
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                     EXHIBIT 10
                      FDA BNT
                     Fact Sheet
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     COVID-19 Vaccination Education
            Pfizer-BioNTech
    Thank you for your commitment to getting vaccinated.
    Included in this packet is the information that you
    need to know:

    • Next steps after receiving the COVID-19 Vaccine
      including symptom monitoring.

    • Centers for Disease Control and Prevention
      Vaccine Safety (V-Safe) symptom reporting.




    You must come back for your second vaccine
    dose. Your second dose appointment was
    scheduled when you made your appointment for
    today. If you need to change your second dose
    appointment, please call 612-467-1100. Please
    make all possible efforts to keep your already
    scheduled second dose appointment. Bring this
    packet with you to your second dose appointment.

        www.va.gov/minneapolis-health-care/
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       A Guide to Available Services for Enrolled Veterans
 Minneapolis VA Health Care System (MVAHCS) is a teaching hospital providing a full
 range of patient care services with state-of-the-art technology, education, and research.
 Comprehensive health care is provided through primary care, tertiary care and long-term
 care in areas of medicine, surgery, psychiatry, physical medicine and rehabilitation,
 neurology, oncology, dentistry, geriatrics, extended care and 13 Community Based
 Outpatient Clinics (CBOC) across the region.




  ✓VHA is the largest integrated health care system in the United States,
     providing care at 1,227 health care facilities, including 168 VA Medical
     Centers and 1,047 outpatient sites of care of varying complexity.

  ✓As of 2016, VA Consolidated Mail Outpatient Pharmacy received the highest
     customer satisfaction among the nation’s public and private mail-order
     pharmacies, according to a J.D. Power study. Nearly 5 million Veterans
     receive their prescriptions through VHA pharmacies.

  ✓VA is the national leader in telehealth services. VA telehealth services are
     critical to expanding access to VA care in more than 45 clinical areas.
 Services Available at the Minneapolis VA Health Care System
  Audiology & ENT               Neurology & Neurosurgery             Primary Care
  Cardiology                    Nutrition                            Prosthetics
  Dental                        Oncology/Cancer Care                 Rehabilitation
  Dermatology                   Ophthalmology                        Respiratory Services
  General Surgery               Optometry                            Telehealth Services
  Home Care Services            Orthopedics                          Thoracic Surgery
  Hospice/Palliative Care       Orthotics                            Urology
  Mental Health Services        Pharmacy                             Vascular Surgery
  MOVE! Weight Management Podiatry & Wound                           Women’s Health
  Whole Health & Integrative Health Services

  IMPORTANT NUMBERS

  Minneapolis VA Health Care System:
  (612) 725-2000 • Toll Free: (866) 414-5058
  Primary Care Call Center:                                For more information, please visit:
  (612) 467-1100 • Toll Free: 1 (866) 414-5058            www.va.gov/minneapolis-health-care/
  Enrollment:                                                        www.va.gov
  1 (877) 222-VETS (8387)
  Benefits:
  1-800-827-1000                                                   Revised: July 2021
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       VACCINE INFORMATION FACT SHEET FOR RECIPIENTS AND CAREGIVERS
                  ABOUT COMIRNATY (COVID-19 VACCINE, mRNA)
        AND PFIZER-BIONTECH COVID-19 VACCINE TO PREVENT CORONAVIRUS
                           DISEASE 2019 (COVID-19)


 You are being offered either COMIRNATY (COVID-19 Vaccine, mRNA) or the
 Pfizer-BioNTech COVID-19 Vaccine to prevent Coronavirus Disease 2019
 (COVID-19) caused by SARS-CoV-2.

 This Vaccine Information Fact Sheet for Recipients and Caregivers comprises the
 Fact Sheet for the authorized Pfizer-BioNTech COVID-19 Vaccine and also
 includes information about the FDA-licensed vaccine, COMIRNATY (COVID-19
 Vaccine, mRNA).

 The FDA-approved COMIRNATY (COVID-19 Vaccine, mRNA) and the
 FDA-authorized Pfizer-BioNTech COVID-19 Vaccine under Emergency Use
 Authorization (EUA) have the same formulation and can be used interchangeably
 to provide the COVID-19 vaccination series. [1]

       COMIRNATY (COVID-19 Vaccine, mRNA) is an FDA-approved COVID-19
       vaccine made by Pfizer for BioNTech.
          • It is approved as a 2-dose series for prevention of COVID-19 in
             individuals 16 years of age and older.
          • It is also authorized under EUA to be administered to:
                 o prevent COVID-19 in individuals 12 through 15 years, and
                 o provide a third dose to individuals 12 years of age and older who
                    have been determined to have certain kinds of
                    immunocompromise.

       The Pfizer-BioNTech COVID-19 Vaccine has received EUA from FDA to:
         • prevent COVID-19 in individuals 12 years of age and older, and
         • provide a third dose to individuals 12 years of age and older who have
             been determined to have certain kinds of immunocompromise.


 This Vaccine Information Fact Sheet contains information to help you understand the
 risks and benefits of COMIRNATY (COVID-19 Vaccine, mRNA) and the
 Pfizer-BioNTech COVID-19 Vaccine, which you may receive because there is currently
 a pandemic of COVID-19. Talk to your vaccination provider if you have questions.

 COMIRNATY (COVID-19 Vaccine, mRNA) and the Pfizer-BioNTech COVID-19 Vaccine
 are administered as a 2-dose series, 3 weeks apart, into the muscle.

 [1]The licensed vaccine has the same formulation as the EUA-authorized vaccine and the products can
 be used interchangeably to provide the vaccination series without presenting any safety or effectiveness
 concerns. The products are legally distinct with certain differences that do not impact safety or
 effectiveness.

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 Under EUA for individuals who are determined to have certain kinds of
 immunocompromise, a third dose may be administered at least 4 weeks after the
 second dose.

 COMIRNATY (COVID-19 Vaccine, mRNA) and the Pfizer-BioNTech COVID-19 Vaccine
 may not protect everyone.

 This Fact Sheet may have been updated. For the most recent Fact Sheet, please see
 www.cvdvaccine.com.

 WHAT YOU NEED TO KNOW BEFORE YOU GET THIS VACCINE

 WHAT IS COVID-19?
 COVID-19 disease is caused by a coronavirus called SARS-CoV-2. You can get
 COVID-19 through contact with another person who has the virus. It is predominantly a
 respiratory illness that can affect other organs. People with COVID-19 have had a wide
 range of symptoms reported, ranging from mild symptoms to severe illness leading to
 death. Symptoms may appear 2 to 14 days after exposure to the virus. Symptoms may
 include: fever or chills; cough; shortness of breath; fatigue; muscle or body aches;
 headache; new loss of taste or smell; sore throat; congestion or runny nose; nausea or
 vomiting; diarrhea.

 WHAT IS COMIRNATY (COVID-19 VACCINE, mRNA) AND HOW IS IT RELATED TO
 THE PFIZER-BIONTECH COVID-19 VACCINE?

 COMIRNATY (COVID-19 Vaccine, mRNA) and the Pfizer-BioNTech COVID-19 Vaccine
 have the same formulation and can be used interchangeably to provide the COVID-19
 vaccination series. 1

 For more information on EUA, see the “What is an Emergency Use Authorization
 (EUA)?” section at the end of this Fact Sheet.




 1
  The licensed vaccine has the same formulation as the EUA-authorized vaccine and the products can be
 used interchangeably to provide the vaccination series without presenting any safety or effectiveness
 concerns. The products are legally distinct with certain differences that do not impact safety or
 effectiveness.

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 WHAT SHOULD YOU MENTION TO YOUR VACCINATION PROVIDER BEFORE
 YOU GET THE VACCINE?
 Tell the vaccination provider about all of your medical conditions, including if
 you:
      • have any allergies
      • have had myocarditis (inflammation of the heart muscle) or pericarditis
         (inflammation of the lining outside the heart)
      • have a fever
      • have a bleeding disorder or are on a blood thinner
      • are immunocompromised or are on a medicine that affects your immune system
      • are pregnant or plan to become pregnant
      • are breastfeeding
      • have received another COVID-19 vaccine
      • have ever fainted in association with an injection

 WHO SHOULD GET THE VACCINE?
 FDA has approved COMIRNATY (COVID-19 Vaccine, mRNA) for use in individuals
 16 years of age and older and has authorized it for emergency use in individuals
 12 through 15 years.

 FDA has authorized the emergency use of the Pfizer-BioNTech COVID-19 Vaccine in
 individuals 12 years of age and older.

 WHO SHOULD NOT GET THE VACCINE?
 You should not get the COMIRNATY (COVID-19 Vaccine, mRNA) or the
 Pfizer-BioNTech COVID-19 Vaccine if you:
     • had a severe allergic reaction after a previous dose of this vaccine
     • had a severe allergic reaction to any ingredient of this vaccine.

 WHAT ARE THE INGREDIENTS IN COMIRNATY (COVID-19 VACCINE, mRNA) AND
 THE PFIZER-BIONTECH COVID-19 VACCINE?
 COMIRNATY (COVID-19 Vaccine, mRNA) and the Pfizer-BioNTech COVID-19 Vaccine
 include the following ingredients: mRNA, lipids ((4-hydroxybutyl)azanediyl)bis(hexane-
 6,1-diyl)bis(2-hexyldecanoate), 2 [(polyethylene glycol)-2000]-N,N-
 ditetradecylacetamide, 1,2-Distearoyl-sn-glycero-3-phosphocholine, and cholesterol),
 potassium chloride, monobasic potassium phosphate, sodium chloride, dibasic sodium
 phosphate dihydrate, and sucrose.

 HOW IS THE VACCINE GIVEN?
 COMIRNATY (COVID-19 Vaccine, mRNA) and the Pfizer-BioNTech COVID-19 Vaccine
 will be given to you as an injection into the muscle.

 The vaccination series is 2 doses given 3 weeks apart.

 If you receive one dose of the vaccine, you should receive a second dose of the
 vaccine 3 weeks later to complete the vaccination series.


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 HAVE COMIRNATY (COVID-19 VACCINE, mRNA) AND THE PFIZER-BIONTECH
 COVID-19 VACCINE BEEN USED BEFORE?
 In clinical trials, approximately 23,000 individuals 12 years of age and older have
 received at least 1 dose of the Pfizer-BioNTech COVID-19 Vaccine. Data from these
 clinical trials supported the Emergency Use Authorization of the Pfizer-BioNTech
 COVID-19 Vaccine and the approval of COMIRNATY (COVID-19 Vaccine, mRNA).
 Millions of individuals have received the Pfizer-BioNTech COVID-19 Vaccine under
 EUA since December 11, 2020.

 WHAT ARE THE BENEFITS OF COMIRNATY (COVID-19 VACCINE, mRNA) AND
 THE PFIZER-BIONTECH COVID-19 VACCINE?
 The vaccine has been shown to prevent COVID-19 following 2 doses given 3 weeks
 apart. The duration of protection against COVID-19 is currently unknown.

 WHAT ARE THE RISKS OF COMIRNATY (COVID-19 VACCINE, mRNA) AND THE
 PFIZER-BIONTECH COVID-19 VACCINE?
 There is a remote chance that the vaccine could cause a severe allergic reaction. A
 severe allergic reaction would usually occur within a few minutes to one hour after
 getting a dose of the vaccine. For this reason, your vaccination provider may ask you to
 stay at the place where you received your vaccine for monitoring after vaccination.
 Signs of a severe allergic reaction can include:
    • Difficulty breathing
    • Swelling of your face and throat
    • A fast heartbeat
    • A bad rash all over your body
    • Dizziness and weakness

 Myocarditis (inflammation of the heart muscle) and pericarditis (inflammation of the
 lining outside the heart) have occurred in some people who have received
 COMIRNATY (COVID-19 Vaccine, mRNA) or the Pfizer-BioNTech COVID-19 Vaccine.
 In most of these people, symptoms began within a few days following receipt of the
 second dose of vaccine. The chance of having this occur is very low. You should seek
 medical attention right away if you have any of the following symptoms after receiving
 the vaccine:
      • Chest pain
      • Shortness of breath
      • Feelings of having a fast-beating, fluttering, or pounding heart

 Side effects that have been reported with COMIRNATY (COVID-19 Vaccine, mRNA) or
 the Pfizer-BioNTech COVID-19 Vaccine include:
    • severe allergic reactions
    • non-severe allergic reactions such as rash, itching, hives, or swelling of the face
    • myocarditis (inflammation of the heart muscle)
    • pericarditis (inflammation of the lining outside the heart)
    • injection site pain
    • tiredness
    • headache

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    •   muscle pain
    •   chills
    •   joint pain
    •   fever
    •   injection site swelling
    •   injection site redness
    •   nausea
    •   feeling unwell
    •   swollen lymph nodes (lymphadenopathy)
    •   diarrhea
    •   vomiting
    •   arm pain

 These may not be all the possible side effects of the vaccine. Serious and unexpected
 side effects may occur. The possible side effects of the vaccine are still being studied in
 clinical trials.

 WHAT SHOULD I DO ABOUT SIDE EFFECTS?
 If you experience a severe allergic reaction, call 9-1-1, or go to the nearest hospital.

 Call the vaccination provider or your healthcare provider if you have any side effects
 that bother you or do not go away.

 Report vaccine side effects to FDA/CDC Vaccine Adverse Event Reporting System
 (VAERS). The VAERS toll-free number is 1-800-822-7967 or report online to
 https://vaers.hhs.gov/reportevent.html. Please include either “COMIRNATY (COVID-19
 Vaccine, mRNA)” or “Pfizer-BioNTech COVID-19 Vaccine EUA”, as appropriate, in the
 first line of box #18 of the report form.

 In addition, you can report side effects to Pfizer Inc. at the contact information provided
 below.

               Website                         Fax number           Telephone number

   www.pfizersafetyreporting.com           1-866-635-8337             1-800-438-1985

 You may also be given an option to enroll in v-safe. V-safe is a new voluntary
 smartphone-based tool that uses text messaging and web surveys to check in with
 people who have been vaccinated to identify potential side effects after COVID-19
 vaccination. V-safe asks questions that help CDC monitor the safety of COVID-19
 vaccines. V-safe also provides second-dose reminders if needed and live telephone
 follow-up by CDC if participants report a significant health impact following COVID-19
 vaccination. For more information on how to sign up, visit: www.cdc.gov/vsafe.




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 WHAT IF I DECIDE NOT TO GET COMIRNATY (COVID-19 VACCINE, mRNA) OR
 THE PFIZER-BIONTECH COVID-19 VACCINE?
 Under the EUA, it is your choice to receive or not receive the vaccine. Should you
 decide not to receive it, it will not change your standard medical care.

 ARE OTHER CHOICES AVAILABLE FOR PREVENTING COVID-19 BESIDES
 COMIRNATY (COVID-19 VACCINE, mRNA) OR PFIZER-BIONTECH COVID-19
 VACCINE?
 Other vaccines to prevent COVID-19 may be available under Emergency Use
 Authorization.

 CAN I RECEIVE THE COMIRNATY (COVID-19 VACCINE, mRNA) OR PFIZER-
 BIONTECH COVID-19 VACCINE AT THE SAME TIME AS OTHER VACCINES?
 Data have not yet been submitted to FDA on administration of COMIRNATY (COVID-
 19 Vaccine, mRNA) or the Pfizer-BioNTech COVID-19 Vaccine at the same time with
 other vaccines. If you are considering receiving COMIRNATY (COVID-19 Vaccine,
 mRNA) or the Pfizer-BioNTech COVID-19 Vaccine with other vaccines, discuss your
 options with your healthcare provider.

 WHAT IF I AM IMMUNOCOMPROMISED?
 If you are immunocompromised, you may receive a third dose of the vaccine. The
 third dose may still not provide full immunity to COVID-19 in people who are
 immunocompromised, and you should continue to maintain physical precautions to
 help prevent COVID-19. In addition, your close contacts should be vaccinated as
 appropriate.

 WHAT IF I AM PREGNANT OR BREASTFEEDING?
 If you are pregnant or breastfeeding, discuss your options with your healthcare
 provider.

 WILL COMIRNATY (COVID-19 VACCINE, mRNA) OR THE PFIZER-BIONTECH
 COVID-19 VACCINE GIVE ME COVID-19?
 No. The vaccine does not contain SARS-CoV-2 and cannot give you COVID-19.

 KEEP YOUR VACCINATION CARD
 When you get your first dose, you will get a vaccination card to show you when to
 return for your second dose or if you have certain kinds of immunocompromise, your
 third dose of COMIRNATY (COVID-19 Vaccine, mRNA) or Pfizer-BioNTech COVID-19
 Vaccine. Remember to bring your card when you return.




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 ADDITIONAL INFORMATION
 If you have questions, visit the website or call the telephone number provided below.

 To access the most recent Fact Sheets, please scan the QR code provided below.

              Global website                             Telephone number
            www.cvdvaccine.com
                                                           1-877-829-2619
                                                         (1-877-VAX-CO19)




 HOW CAN I LEARN MORE?
   • Ask the vaccination provider.
   • Visit CDC at https://www.cdc.gov/coronavirus/2019-ncov/index.html.
   • Visit FDA at https://www.fda.gov/emergency-preparedness-and-response/mcm-
     legal-regulatory-and-policy-framework/emergency-use-authorization.
   • Contact your local or state public health department.

 WHERE WILL MY VACCINATION INFORMATION BE RECORDED?
 The vaccination provider may include your vaccination information in your state/local
 jurisdiction’s Immunization Information System (IIS) or other designated system. This
 will ensure that you receive the same vaccine when you return for the second dose. For
 more information about IISs visit: https://www.cdc.gov/vaccines/programs/iis/about.html.

 CAN I BE CHARGED AN ADMINISTRATION FEE FOR RECEIPT OF THE COVID-19
 VACCINE?
 No. At this time, the provider cannot charge you for a vaccine dose and you cannot be
 charged an out-of-pocket vaccine administration fee or any other fee if only receiving a
 COVID-19 vaccination. However, vaccination providers may seek appropriate
 reimbursement from a program or plan that covers COVID-19 vaccine administration
 fees for the vaccine recipient (private insurance, Medicare, Medicaid, Health
 Resources & Services Administration [HRSA] COVID-19 Uninsured Program for non-
 insured recipients).

 WHERE CAN I REPORT CASES OF SUSPECTED FRAUD?
 Individuals becoming aware of any potential violations of the CDC COVID-19
 Vaccination Program requirements are encouraged to report them to the Office of the
 Inspector General, U.S. Department of Health and Human Services, at
 1-800-HHS-TIPS or https://TIPS.HHS.GOV.

 WHAT IS THE COUNTERMEASURES INJURY COMPENSATION PROGRAM?
 The Countermeasures Injury Compensation Program (CICP) is a federal program that
 may help pay for costs of medical care and other specific expenses of certain people
 who have been seriously injured by certain medicines or vaccines, including this
 vaccine. Generally, a claim must be submitted to the CICP within one (1) year from the

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 date of receiving the vaccine. To learn more about this program, visit
 www.hrsa.gov/cicp/ or call 1-855-266-2427.

 WHAT IS AN EMERGENCY USE AUTHORIZATION (EUA)?
 An Emergency Use Authorization (EUA) is a mechanism to facilitate the availability and
 use of medical products, including vaccines, during public health emergencies, such as
 the current COVID-19 pandemic. An EUA is supported by a Secretary of Health and
 Human Services (HHS) declaration that circumstances exist to justify the emergency
 use of drugs and biological products during the COVID-19 pandemic.

 The FDA may issue an EUA when certain criteria are met, which includes that there are
 no adequate, approved, available alternatives. In addition, the FDA decision is based
 on the totality of scientific evidence available showing that the product may be effective
 to prevent COVID-19 during the COVID-19 pandemic and that the known and potential
 benefits of the product outweigh the known and potential risks of the product. All of
 these criteria must be met to allow for the product to be used in the treatment of
 patients during the COVID-19 pandemic.

 This EUA for the Pfizer-BioNTech COVID-19 Vaccine and COMIRNATY will end when
 the Secretary of HHS determines that the circumstances justifying the EUA no longer
 exist or when there is a change in the approval status of the product such that an EUA
 is no longer needed.




 Manufactured by
 Pfizer Inc., New York, NY 10017


 Manufactured for
 BioNTech Manufacturing GmbH
 An der Goldgrube 12
 55131 Mainz, Germany

 LAB-1451-7.2

 Revised: 23 August 2021



                                                     Scan to capture that this Fact Sheet was provided to vaccine
                                                     recipient for the electronic medical records/immunization
                                                     information systems.
                                      Barcode Date: 08/2021




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NEXT STEPS             after receiving the COVID-19 Vaccine
VA Side Effects and Adverse Events Reporting Fact Sheet
Whether you are an employee or a Veteran receiving the COVID-19 vaccine, you have taken an important step towards
protecting yourself, your family and friends, and your communities from COVID-19.
Now that you have received the vaccine, what can you expect?
Vaccines protect us by stimulating the body’s natural immune system to produce antibodies to fight a virus. This is called
an immune response. Vaccines are a way to trigger the immune response to allow the body to protect against becoming
infected and getting sick from illnesses like COVID-19.
Many people who receive the COVID-19 vaccine who experience a reaction have mild symptoms (listed in the table
below). These usually go away on their own within a few days. These side effects are a sign that your immune system is
doing exactly what it is supposed to do. It is working and building up protection to disease.
    Local symptoms at the                     General symptoms (not at the injection site) may include:
    injection site may include:
    Pain – Discomfort                         Chills                 Muscle or Body Aches (myalgia)                Joint Pains (arthralgia)

    Redness/Swelling/Itching                  Fever                  Fatigue or Tiredness                          Allergic Reaction

                                              Headache               Nausea/Vomiting/Diarrhea

It is important to know what side effects to expect and which ones should be reported to your healthcare team or when to
seek immediate medical attention. Contact your health care provider if your symptoms make you unable to work, do
daily activities, or if you feel that you need urgent care for any of these symptoms. This reporting is part of the
Emergency Use Authorization (EUA) safety monitoring process required by the U. S. Food and Drug Administration
(FDA). You can play an important role in this process.
If you experience a reaction to the vaccine, please use the table on the back of the sheet to record
your symptoms and the day that you experienced them.
If you experience these symptoms and they have an impact on your daily routine, please contact your provider and
record your information in the table on the back of this sheet.
      •    If you are an employee and experience symptoms to the COVID-19 vaccine that impact daily activities, please contact your
           local Employee Occupational Health department at _______________________________.
      •    If you are a Veteran and experience symptoms to the COVID-19 vaccine that impact daily activities, please contact your
           healthcare team at _________________________________.
      •    If you are a non-Veteran, adolescent patient, or Veteran not eligible for general care at the VA and experience symptoms,
           please contact your primary care provider. In addition, please remember to share your CDC Vaccination Record card with
           your primary care provider or pediatrician (adolescents).

Janssen Vaccine Only: A very rare but serious side effect                        Moderna and Pfizer-BioNTech COVID-19 Vaccines Only:
involving blood clots with low levels of platelets (blood cells that             Myocarditis (inflammation of the heart muscle) and pericarditis
help your body stop bleeding) has occurred primarily among women                 (inflammation of the lining outside the heart) have occurred in some
aged 18-49 years following vaccination with the Janssen vaccine. In              people who have received these vaccines. In most of these people,
people who developed these blood clots and low levels of platelets,              symptoms frequently began within a few days following receipt of
symptoms began approximately one to two weeks following                          the second dose. The chance of having this occur is very rare and
vaccination. The chance of having this occur is remote. You should               according to CDC, the benefits of the vaccine outweigh the risks.
seek medical attention right away if you have any of the following               You should seek medical attention right away if you have any of the
symptoms after receiving the Janssen COVID-19 vaccine:                           following symptoms after receiving the Moderna or Pfizer-BioNTech
•     Severe or persistent headaches or blurred vision                           COVID-19 Vaccine:
•     Shortness of breath
•     Chest pain                                                                 •   Chest pain
•     Leg swelling                                                               •   Shortness of breath
•     Persistent abdominal pain                                                  •   Feelings of having a fast-beating, fluttering, or pounding heart
•     Easy bruising or tiny blood spots under the skin beyond the injection
      site
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There are vaccines that require two doses and one that requires one dose. If you receive a vaccine requiring two doses, it
is important for you to return for the 2nd dose to maximize immunity from the vaccine to protect yourself, your family
and friends, and your community.
 You will be returning for a 2nd dose on: ____________________________________. Please bring this
  sheet and your Vaccination Record card when you return for your next appointment.
 You do not need to return for a second dose.

COVID-19 Vaccine Monitoring Record
                                                       Current Vaccines and Required Doses
 Vaccine                            Pfizer BioNTech                     Moderna                             Janssen                    Other
 Doses Required                     2                                   2                                   1
 Days Apart                         21 days (minimum)                   28 days (minimum)
Please see the tables on the previous page to review the descriptions of and differences between injection site symptoms
and general symptoms.
                                                                Dose 1                                          Dose 2* (Not required for Janssen)
                                    Have you had any                    Have you had any general            Have you had any           Have you had any general
                                    injection site symptoms?            symptoms?                           injection site symptoms?   symptoms?
 Day
                                    Check if yes                        Check if yes                        Check if yes               Check if yes
                                    (write which one)                   (write which one)                   (write which one)          (write which one)
 1 (day of vaccination)             ☐                                   ☐                                   ☐                          ☐
 2                                  ☐                                   ☐                                   ☐                          ☐
 3                                  ☐                                   ☐                                   ☐                          ☐
 4                                  ☐                                   ☐                                   ☐                          ☐
 5                                  ☐                                   ☐                                   ☐                          ☐
 6                                  ☐                                   ☐                                   ☐                          ☐
 7                                  ☐                                   ☐                                   ☐                          ☐
 Week
 2 (up to 14 days after
                                    ☐                                   ☐                                   ☐                          ☐
 vaccination)
 3 (up to 21 days)                  ☐                                   ☐                                   ☐                          ☐
 4 (up to 28 days)                  ☐                                   ☐                                   ☐                          ☐
 5 (up to 35 days)                  ☐                                   ☐                                   ☐                          ☐
 6 (up to 42 days)                  ☐                                   ☐                                   ☐                          ☐
 Other important events

 Please contact your provider/clinic immediately if any of the following occur after you receive the vaccine:
        You are admitted to the hospital for any reason
        You receive a positive test for COVID-19
        If female, you become pregnant


Notes (any info needed to collect – temperature/date (if fever), medication taken, reported to doctor/clinic/ER, COVID-19 test)




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                            10: 18 AM
                                                          Get vaccinated.
                                                          Get your smartphone.
                                                          Get started with v-safe.
What is v-safe?
V-safe is a smartphone-based tool that uses text messaging and
web surveys to provide personalized health check-ins after you
receive a COVID-19 vaccination. Through v-safe, you can quickly
tell CDC if you have any side effects after getting the COVID-19                                                            SM
vaccine. Depending on your answers, someone from CDC may call
to check on you.


Your participation in CDC’s v-safe makes a difference—it helps
keep COVID-19 vaccines safe.


How can I participate?
Once you get a COVID-19 vaccine, you can enroll in v-safe using
your smartphone. Participation is voluntary and you can opt out at
any time. You will receive text messages from v-safe around 2pm
local time. To opt out, simply text “STOP” when v-safe sends you a
text message. You can also start v-safe again by texting “START.”


How long do v-safe check-ins last?
During the first week after you get your vaccine, v-safe will send
you a text message each day to ask how you are doing. Then you
will get check-in messages once a week for up to 5 weeks. The
questions v-safe asks should take less than 5 minutes to answer.
If you need a second dose of vaccine, v-safe will provide a new
6-week check-in process so you can share your second-dose
vaccine experience as well. You’ll also receive check-ins 3, 6, and
                                                                                                             Sign up with your
12 months after your final dose of vaccine.                                                               smartphone’s browser at
                                                                                                               vsafe.cdc.gov

Is my health information safe?                                                                                     OR
Yes. Your personal information in v-safe is protected so that it stays                                    Aim your smartphone’s
confidential and private.*                                                                                  camera at this code

*To the extent v-safe uses existing information systems managed by CDC, FDA, and other federal
 agencies, the systems employ strict security measures appropriate for the data’s level of sensitivity.
 These measures comply, where applicable, with the following federal laws, including the Privacy
 Act of 1974; standards enacted that are consistent with the Health Insurance Portability and
 Accountability Act of 1996 (HIPAA); the Federal Information Security Management Act, and the
 Freedom of Information Act.


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How to register and use v-safe
You will need your smartphone and information about the COVID-19 vaccine you received. This
information can be found on your vaccination record card; if you cannot find your card, please contact
your healthcare provider.

Register
1. Go to the v-safe website using one of the two options below:




                                                    OR


2. Read the instructions. Click Get Started.
3. Enter your name, mobile number, and other requested information. Click Register.
4. You will receive a text message with a verification code on your smartphone. Enter the code in
   v-safe and click Verify.
5. At the top of the screen, click Enter your COVID-19 vaccine information.
6. Select which COVID-19 vaccine you received (found on your vaccination record card; if you
   cannot find your card, please contact your healthcare provider). Then enter the date you were
   vaccinated. Click Next.
7. Review your vaccine information. If correct, click Submit. If not, click Go Back.
8. Congrats! You’re all set! If you complete your registration before 2pm local time, v-safe will start
   your initial health check-in around 2pm that day. If you register after 2pm, v-safe will start your initial
   health check-in immediately after you register—just follow the instructions.
    You will receive a reminder text message from v-safe when it’s time for the next check-in—around
    2pm local time. Just click the link in the text message to start the check-in.

Complete a v-safe health check-in
1. When you receive a v-safe check-in text message on your smartphone, click the link when ready.
2. Follow the instructions to complete the check-in.

Troubleshooting                                                          Need help with v-safe?
                                                                         Call 800-CDC-INFO (800-232-4636)
How can I come back and finish a check-in                                TTY 888-232-6348
later if I’m interrupted?
                                                                         Open 24 hours, 7 days a week
 Click the link in the text message reminder to restart
                                                                         Visit www.cdc.gov/vsafe
  and complete your check-in.
How do I update my vaccine information after
my second COVID-19 vaccine dose?
 V-safe will automatically ask you to update your
 second dose information. Just follow the instructions.
                                                                                                   12/31/2020
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                      EXHIBIT 11
                      OJAG SJA
                      Update
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             COVID-19 MANDATORY VACCINATION IMPLEMENTATION
                       GUIDANCE FOR SERVICE MEMBERS
                        Deputy Director of Staff for COVID-19
                                  3 September 2021




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                                              Chapter 1

                                         INTRODUCTION

   1.1. Purpose. This document provides Department of the Air Force implementation guidance
   pursuant to the 24 August 2021 Secretary of Defense memorandum and the subsequent 3
   September 2021 Secretary of the Air Force memorandum. Accomplishment of mandatory
   COVID-19 vaccinations will be carried out as soon as possible after receiving this
   implementation guidance.

   1.2. Background.

      1.2.1. On 23 August 2021, the US Food and Drug Administration (FDA) approved the
      Pfizer-BioNTech mRNA COVID-19 vaccine which will be now be marketed as
      “COMIRNATY®” for prevention of COVID-19 disease in individuals 16 years of age and
      older. The vaccine also continues to be available under Emergency Use Authorization
      (EUA) for individuals 12 through 15 years of age and for the administration of a third dose in
      certain immunocompromised individuals.

         1.2.1.1. The FDA approved COMIRNATY® and the FDA authorized Pfizer-BioNTech
      COVID-19 vaccine under emergency use authorization have the same formulation and can be
      used interchangeably.

          1.2.1.2. Providers can use doses distributed under the EUA to administer the vaccination
      series as if the doses were the licensed vaccine according to the FDA. Other vaccines may be
      added to this list in the future.

      1.2.2. All other vaccines authorized by the FDA under an EUA will remain voluntary until
      they receive full FDA approval.

      1.2.3. Following the FDA news release, the Secretary of Defense announced that the
      COVID-19 vaccine would be a requirement for all members of the Armed Forces under DoD
      authority on active duty or in the Ready Reserve, including National Guard.

      1.2.4. Service members voluntarily immunized with a COVID-19 vaccine under FDA EUA
      or World Health Organization (WHO) Emergency Use Listing (EUL) IAW applicable dose
      requirements prior to, or after, the establishment of this policy are considered fully
      vaccinated.

   1.3. Key Messages. Education of all levels of the command structure is imperative to ensure the
   success of this program. The key messages for this vaccination effort are:

      1.3.1. Your health and safety are our #1 concern.

      1.3.2. The vaccine is safe and effective.
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      1.3.3. The threat from COVID-19 is real and deadly.

      1.3.4. Vaccination offers a layer of protection, in addition to hand washing, use of cloth face
      masks, social distancing, tele-working, and other non-pharmaceutical interventions.

   1.4. Applicability and Scope.

      1.4.1. All individuals identified in section 1.2.3.

      1.4.2. All other eligible personnel are strongly recommended to voluntarily receive either the
   approved COMIRNATY® or other FDA EUA or WHO EUL COVID-19 vaccines.

      1.4.3. Members who are actively participating in COVID-19 clinical trials are exempt from
   mandatory vaccination against COVID-19 until the trial is complete.
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                                               Chapter 2

                                 ROLES AND RESPONSIBILITIES


   2.1. AF/DDS COVID-19.

      2.1.1. As OPR for implementation of the vaccination mandate, develop and implement
      necessary DAF policy.

      2.1.2. Provide program oversight.

      2.1.3. Coordinate with other Services and agencies on policy implementation and execution
      as appropriate.

      2.1.4. Review and coordinate requests from MAJCOMs and FLDCOMS for exceptions to
      policy.

   2.2. AF/SG.

      2.2.1. Coordinate with DHA Director.

      2.2.2. Serve as the final appeal authority for all denials of requests for religious
      accommodations per DAFI 52-201.

   2.3. MAJCOMs and FLDCOMs.

      2.3.1 Designate a staff element as OPR for management of implementation of this guidance.
      (Designate any OCRs as deemed necessary.)

      2.3.2. Consult with installations on vaccination issues which require command support.

      2.3.3. Coordinate requests for exceptions to policy with installations and HAF/DDS
      COVID-19.

      2.3.4. Adjudicate religious exemptions per DAFI 52-201.

   2.4. Installation Commander.

      2.4.1. Ensure compliance with this guidance by maintaining oversight and ownership of the
      installation’s implementation plan for mandatory vaccination.

      2.4.2. As needed, develop a base implementation plan consistent with DoD and DAF
      guidance. The Department of the Air Force plan may be used as the foundation for the
      installation’s implementation plan.
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      2.4.3. As needed, designate a senior line officer as the installation OIC to oversee the
      implementation of this guidance and the vaccination mandate.

      2.4.4. Direct the Medical Treatment Facility (MTF) Commander or Senior Officer in the
      Reserve Medical Unit to coordinate the medical administrative and clinical functions of
      COVID-19 vaccination pursuant to this guidance.

      2.4.5. Ensure all installation personnel receive education on the ma as outlined in Chapter 3
      of this plan.

      2.4.6. Submit requests for exception to policy to MAJCOM and FLDCOM OPRs for
      coordination.

   2.5. Public Affairs.

      2.5.1. Prioritize community education and provide support to command teams.

      2.5.2. Coordinate responses to media inquiries.

   2.6. Legal.

      2.6.1. Educate base personnel as needed on relevant legal issues.

      2.6.2. Answer any inquiries regarding legal issues related to mandatory vaccination and this
      guidance (e.g., Freedom of Information Act requests and refusals to receive mandatory
      vaccinations) and provide guidance to commanders as needed/requested.

   2.7. Chaplain.

      2.7.1. Assist with vaccine exemptions based on religious accommodations IAW DAFI 52-
      201. The senior chaplain leads the RRT in providing recommendations to commanders on
      how to resolve religious matters. See Attachment 1, Religious Accommodation Requests.

   2.8. Unit Commanders.

      2.8.1. Ensure unit personnel are educated on the vaccine and the vaccination requirement
      IAW Chapter 3 of this plan. Helpful documents such as “DoD & MHS Talking Points –
      COVID-19 Updates (29 Jul 21)”, “COVID19 Vaccine FAQs_V1_3Aug 2021” and others are
      accessible from https://www.milsuite.mil/book/groups/daf-covid-19-vaccine-confidence-
      working-group-cvcwg.

      2.8.2. Enforce compliance with the mandate from the Secretary of Defense and the Secretary
      of the Air Force by issuing an order for all unvaccinated members under the unit’s command
      to receive the COVID-19 vaccine.
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      2.8.3. For personnel subject to the vaccination mandate, manage cases of individual refusal
      to receive the vaccine IAW section 5.3 of this plan. Begin taking refusal management steps
      as soon as possible following notification by the MTF of vaccine refusal by a unit member.

   2.9. Military Treatment Facility Commander or Local Equivalent.

      2.9.1. Provide oversight for all medical administrative and clinical aspects of vaccination
      IAW DHA-IPM 20-004.

      2.9.2. Assign medical provider(s), as needed, to support:
         2.9.2.1. The installation’s Religious Resolution Team (RRT) and medical counseling for
         personnel requesting religious waivers;
         2.9.2.2. The medical evaluation of personnel requiring a medical exemptions; and
         2.9.2.3. Notification of commanders if the initial refusal of the COVID-19 vaccine takes
         place in the MTF or Points of Dispensing (PODs). (See paragraph 5.3.2.)

      2.9.3. Ensure appropriate medical personnel are educated on the clinical and policy aspects
      of the vaccine program (see Chapter 3). Be prepared to provide additional information to
      Commanders and individuals.

      2.9.4. Ensure a process is in place for access to health care for individuals who may have an
      adverse reaction to the vaccine.

      2.9.5. Ensure those receiving vaccination are offered education prior to vaccine
      administration.

      2.9.6. Oversee management of adverse events IAW DHA-IPM 20-004.

      2.9.7. Ensure providers are educated on evaluation for vaccine exemption requests. (See
      paragraph 3.4.)

   2.10. Vaccine Site Coordinator.

      2.10.1. Ensure education and training of vaccinators on current vaccination policy is
      accomplished IAW DHA-IPM 20-004 and any supplemental guidance from DHA-IHD.

      2.10.2. Ensure the most current version of the FDA Fact Sheet is readily
      available/distributed at education venues and within the MTF until an Advisory Committee
      on Immunization Practices (ACIP)-approved Vaccine Information Statement (VIS) becomes
      available.

      2.10.3. Continue to coordinate with the vaccine coordinators and logistics champions.
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      2.10.4. For deployers going to countries where yellow shot record is required, ensure
      COVID-19 vaccine is also documented in their yellow shot record.

   2.11. Individuals Receiving Vaccination.

      2.11.1. Receive education on the COVID-19 disease threat and information on the vaccine.

      2.11.2. Read the FDA Fact Sheet.

      2.11.3. Address any concerns with medical staff prior to receiving the vaccine.

      2.11.4. Air Reserve Component (ARC) members who receive vaccination outside a military
      facility will provide documentation to their unit health monitor and reserve medical unit
      within 72 hours of vaccination.
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                                              Chapter 3

                           EDUCATION PLAN FOR VACCINATION


   3.1. General. Education is the key to a successful COVID-19 vaccination program.
   Commanders at all levels are responsible for educating their personnel before vaccination. This
   educational program will inform personnel of the following:

      3.1.1. The Food and Drug Administration (FDA) has licensed the Pfizer-BioNTech mRNA
      COVID-19 vaccine, now marketed as “COMIRNATY®,” for prevention of COVID-19
      disease as well as preventing COVID-19-related serious negative outcomes. (Note: IAW
      FDA guidance, COMIRNATY® has the same formulation and can be used interchangeably
      with the FDA-authorized Pfizer-BioNTech COVID-19 Vaccine. Providers can use doses
      distributed under the EUA to administer the vaccination series as if the doses were the
      licensed vaccine.)

      3.1.2. Known and potential benefits and risks of COMIRNATY®.

      3.1.3. Only an FDA-licensed vaccine may be mandated; however, Service members may be
      voluntarily immunized with a COVID-19 vaccine under FDA Emergency Use Authorization
      (EUA) or World Health Organization (WHO) Emergency Use Listing prior to or after the
      establishment of this policy and are considered fully vaccinated.

      3.1.4. The FDA and Centers for Disease Control and Prevention (CDC) have monitoring
      systems in place to ensure that any safety concerns continue to be identified and evaluated in
      a timely manner.

   3.2. Key Messages.

      3.2.1. Your health and safety are our #1 concern.

      3.2.2. The vaccine is safe and effective.

      3.2.3. The threat from COVID-19 is real and deadly.

      3.2.4. Vaccination offers a layer of protection, in addition to hand washing, use of cloth face
      masks, social distancing, tele-working, and other non-pharmaceutical interventions.

   3.3. Education for Individuals. All unvaccinated personnel (as identified in section 1.2) must
   receive education on the COVID-19 vaccinations before receiving the vaccine. This applies to
   individuals initiating or continuing the vaccination series.

      3.3.1. The primary mode of providing education to individuals is the FDA Fact Sheet that
      will be disseminated at the Immunizations Clinic and/or PODs at minimum. Prior to
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      receiving a fully FDA-approved COVID-19 vaccine or an EUA/EUL COVID-19 vaccine,
      individuals must have had the opportunity to review the product-specific information.

          3.3.1.1. Upon arrival at the MTF to receive the COVID-19 vaccine, individuals will be
          offered a copy of the product specific Fact Sheet. Prior to administering the COVID-19
          vaccine, the immunization technician will confirm the individual has understood the
          information within the FDA Fact Sheet. Any questions should be addressed prior to
          vaccination.

   3.4. Education for Medical Personnel. Medical personnel are the primary source of
   information on the disease, the vaccine, and vaccine side effects. For those individuals who
   experience an adverse event associated with the vaccine, medical personnel will provide the
   appropriate treatment and referral, if necessary, for diagnosis and treatment of medical
   conditions.

      3.4.1. Military Treatment Facility Commander or local equivalent will ensure that healthcare
      professionals and vaccinators involved in COVID-19 vaccination review and comply with
      implementation guidance.

      3.4.2. Medical personnel involved with vaccination must understand healthcare-access
      guidance, procedures for reporting in the Vaccine Adverse Events Reporting System
      (VAERS) and reasons for medical exemption.

      3.4.3. Understand the healthcare provider’s roles and responsibilities with medical and
      administrative exemptions to include religious exemptions.

      3.4.4. Personnel providing COVID-19 immunizations must acknowledge training IAW
      DHA-IPM 20-004.

      3.4.5. The Chief of Medical Staff (SGH) will ensure education on the vaccine and the
      vaccination requirement is accomplished for: clinical supervisors of vaccinators, preventive
      medicine and public health staff, relevant healthcare providers (e.g., allergy-immunology,
      ambulatory care, flight medicine, emergency care), and any other provider designated by the
      Medical Commander. Education must also include the components listed in 3.1.
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                                             Chapter 4

                                        MEDICAL ISSUES

   4.1. Vaccine Administration.

      4.1.1. Administer COVID-19 vaccine IAW DHA-IPM 20-004.

      4.1.2. ASIMS will turn “yellow” for not fully vaccinated personnel on 3 September 2021.
      ASIMS will turn “red” for those not fully vaccinated personnel by the respective timelines.

      4.1.3. An order to receive the COVID-19 vaccine is not related to the colors in ASIMS. The
      colors are for MTF tracking purposes only.

      4.1.4. For individuals recently diagnosed with COVID-19, treated with monoclonal
      antibodies, or treated with convalescent plasma, administer COVID-19 immunization in
      accordance with recommendations from the CDC, recommendations from the CDC’s
      Advisory Committee on Immunization Practices (ACIP), and FDA guidelines.

   4.2. Pregnancy and Nursing Considerations. The COVID-19 vaccine is recommended during
   pregnancy.

      4.2.1. Pregnant Service members (unless under medical exemption) are recommended to
      receive COVID-19 vaccination consistent with guidance from the CDC, American College of
      Obstetricians and Gynecologists (ACOG), and the Society for Maternal-Fetal Medicine
      (SMFM); however, a pregnant Service member with concerns about vaccination during
      pregnancy may pursue a temporary medical exemption following vaccine counseling from
      her healthcare provider, as per paragraph 2-6.a.(1)(a) of AFI 48-110.

      4.2.2. As needed, consult medical providers to weigh the benefit/risk of getting
      COMIRNATY® during pregnancy.

      4.2.3. Nursing mothers (unless under a medical exemption) are mandated to receive
      COMIRNATY®.

      4.2.4. Individuals seeking information related to vaccination during pregnancy or while
      nursing are encouraged to access the following website: https://www.acog.org/womens-
      health/faqs/coronavirus-covid-19-pregnancy-and-breastfeeding.

   4.3. Pre-vaccination Screening. Medically screen patients prior to administering the COVID-
   19 vaccine to ensure there are no contraindications for receiving the vaccine.

   4.4. Adverse Reactions.

      4.4.1 General Information. Medical personnel must be prepared to manage perceived or
      actual adverse events after vaccination: how to minimize them, respond to them, and report
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      them IAW AFI 48-110. Treat each concern with care; some symptoms following COVID-19
      vaccination may or may not be caused by the vaccination, but all deserve individual
      attention.

      4.4.2 Immunization Technician’s Role. Immunization technicians will have the most current
      version of the FDA Fact Sheet and other sources of information available in the clinic, which
      provide details on potential side effects. If a patient returns to the clinic after receiving a
      vaccination and indicates that they had an adverse reaction, the immunization technician can,
      again, provide these information sources to the patient. If the adverse reaction is anything
      more than a mild, local reaction, they should be referred to a provider. In every case, the
      patient should be given the option of seeing a provider.

      4.4.3 Any serious adverse event temporally associated with receipt of a dose of a fully FDA-
      approved COVID-19 vaccine or an EUA/EUL COVID-19 vaccine should be immediately
      evaluated by a privileged healthcare provider. Adverse event management should be
      thoroughly documented in medical records.

      4.4.4. Adverse reactions from DoD-directed immunizations are Line of Duty (LOD)
      conditions.

      4.4.5. Adverse event reporting follow the procedures IAW DHA-IPM 20-004.

   4.5. Medical Exemptions.

      4.5.1. Granting medical exemptions is a medical function that must be performed by a
      privileged military health care provider IAW AFI 48-110. Medical exemptions may be based
      on pre-existing conditions or result from vaccine adverse reactions and should be consistent
      with the CDC Interim Clinical Considerations for Use of COVID-19 Vaccines:
      https://www.cdc.gov/vaccines/covid-19/clinical-considerations/covid-19-vaccines-
      us.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fvaccines%2Fcovid-
      19%2Finfo-by-product%2Fclinical-considerations.html#vaccinated-part-clinical-trail.
      See the Medical Exemption Process Attachment for more detail.

         4.5.1.1. For the COVID-19 vaccines, IAW CDC guidance, contraindications include: 1)
         severe allergic reaction (anaphylaxis) after previous dose or to a component of the
         specific COVID-19 vaccine; 2) immediate allergic reaction of any severity to a previous
         dose or known (diagnosed) allergy to a component of the specific COVID-19 vaccine;
         and 3) development of pericarditis or myocarditis after the first dose.

         4.5.1.2. Previous infections or positive serology do not exempt Service members from
         full vaccination requirements. (At this time, DoD, consistent with CDC
         recommendations, has not determined that a serological test is sufficient to meet the
         immunization requirements.)
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         4.5.1.3. Only “MT” or “Medical, Temporary” medical exemption code should used in
         ASIMS. A temporary medical exemption for up to 365 days allows future evaluation
         against other fully approved/biologics license application vaccines.

      4.5.2. Granting of medical exemptions may require a duty status change or deployment
      limitation for the individual. Any change in duty status/deployment eligibility/assignment
      limitation due to a medical exemption must be processed IAW applicable AFIs.

         4.5.2.1. Use of medical exemption codes in ASIMS must be IAW AFI 48-110, Table C-
         1.

   4.6. COVID-19 Vaccine Tracking and Documentation.

      4.6.1. The Public Health Office or the Base Operational Medicine Clinic (BOMC) will assist
      commanders and their designees with ASIMS access.

      4.6.2. COVID-19 vaccination documentation will ensure clinical decision making is
      captured.

         4.6.2.1 Vaccination sites using MHS GENESIS will continue to use this EHR platform
         for vaccination documentation.

         4.6.2.2 Vaccination sites using AHLTA will use either ASIMS or AHLTA. Do not
         double document. Data entered into ASIMS or AHLTA will flow to the other.

         4.6.2.3 ASIMS can be used as an alternate in locations (Guard/Reserve) who do not have
         access to AHLTA/MHS GENESIS but do have ASIMS/ Health Artifact and Image
         Management Solution (HAIMS) capabilities.

      4.6.3. ASIMS will serve as the tracking mechanism for immunizations of Airmen and
      Guardians.

      4.6.4 For deployers going to countries where yellow shot record is required, document
      COVID-19 vaccine in their yellow shot record.

   4.7. Medical Logistics/Vaccine Distribution. The US Army Medical Materiel Agency
   (USAMMA) is responsible for coordinating the distribution of COVID-19 vaccine within DoD.

      4.7.1. Base level medical logistics personnel can order the COVID-19 vaccine from
      USAMMA.

      4.7.2. Ensure proper COMIRNATY® storage requirements are met.

      4.7.3. Monitor for any relevant shelf-life extensions.

   4.8. Aircrew Management.
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        4.8.1. Adverse reactions are rare for all vaccines. Benefits of administration of vaccine for
   this population far outweigh the risks. After receiving COVID-19 vaccine, all flyers, controllers,
   and special warfare airmen (DD Form 2992 holders) will maintain access to medical care on the
   ground and not perform aviation-related duties (e.g., flying, controlling, or jumping) for a period
   of 48 hours after each dose IAW Department of the Air Force Memorandum, “HAF SII 20-02:
   DNIF Guidance for COVID Vaccines,” December 21, 2020. No formal grounding is required
   for uncomplicated immunizations.
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                                               Chapter 5

                                    ADMINISTRATIVE ISSUES


   5.1. Exemptions.

      5.1.1. Guidance for religious accommodations is found in DAFI 52-201. The MAJCOM,
      FLDCOM, DRU or FOA commander is the approval and denial authority for religious
      exemptions. AF/SG is the appellate authority for any religious vaccine exemption requests.

      5.1.2. Administrative and medical exemptions are handled and coded IAW AFI 48-110.

          5.1.2.1. The only administrative exemption is for members on approved terminal leave.

             5.1.2.1.1. Official documentation from the Squadron Commander including the
             administrative code and duration (specific date, temporary, indefinite) of exemption
             will be presented to the Immunization Clinic. Validated administrative exemptions
             will then be entered into ASIMS by the Immunization Clinic staff.

          5.1.2.2. Medical Exemptions may be authorized under AFI 48-110. See paragraph 4.5.1.
          for procedures.

   5.2. Healthcare Access Guidelines. At the time of immunization, all vaccine recipients will be
   provided information on potential adverse events.

      5.2.1. Whenever an individual presents to an MTF expressing a belief that the condition for
      which the treatment is sought is related to an immunization received in a DoD clinic, they are
      authorized initial or emergency care to evaluate and treat an actual or perceived adverse
      reaction. Care may also be provided by a civilian medical facility in the following
      circumstances: an individual believes the situation to be an emergency and the civilian
      hospital is the nearest facility or an individual is on leave status, TDY or in a non-duty status
      (ARC personnel) and there are no MTFs within 50 miles. Pre-approval may still be required
      depending on the specific circumstances when not an emergent situation. Refer to AFI 48-
      110 for additional guidance.

         5.2.1.1. ARC Personnel. If a member suffers an adverse reaction from a DoD-directed
      immunization while in an approved duty status, it is an LOD condition.

   5.3. Refusal Management.

      5.3.1. Military Members. A commander ordering a military member to take the COVID-19
      vaccine constitutes a lawful order. However, the member’s commander may exercise his or
      her discretion in handling refusal cases. When issuing an order to a military member to take
      the COVID-19 vaccine, if an individual indicates he or she is going to refuse the COVID-19
      vaccination or has initially refused the vaccination the following approach should be used:
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         5.3.1.1. Find out why the individual is reluctant.

         5.3.1.2. Provide the member with appropriate education.

         5.3.1.3. Combinations of concerns may require education by a number of people; for
         example:

              5.3.1.3.1. Concerns with vaccine safety, efficacy, or health risks should be sent to
              the supporting medical organization (if not previously accomplished). Medical
              education should be tailored to the specific concerns of the individual (efficacy,
              reproduction, allergic reactions, etc.) and should be accomplished by a health care
              provider knowledgeable about the COVID-19 vaccine and who is able to address
              the specific medical concerns of the individual. The medical counseling will be
              documented in the individual’s medical record.

              5.3.1.3.2. If the member is still reluctant after additional education, send the
              member to the Area Defense Counsel for an explanation of the potential
              consequences of his/her refusal.

         5.3.1.4. The commander should ensure the order, and accompanying counseling on
         appropriate resources, is documented in writing.

         5.3.1.5. If the member refuses to follow the order to vaccinate, consult with the servicing
         Staff Judge Advocate’s office for appropriate action.

         5.3.1.6. Notify the Immunization Clinic of the decision so the proper administrative code
         can be entered in ASIMS.

      5.3.2. Management of Vaccine Refusal in the Immunization Clinic.

         5.3.2.1. If an individual subject to the vaccination requirement, as identified in paragraph
         1.2.3 of this plan, refuses a fully FDA-approved COVID-19 vaccine, the technician
         should notify the Immunization Clinic NCOIC/OIC before that individual leaves the
         clinic. The NCOIC/OIC (or technician if they are not available) should verify again that
         the individual has been offered the FDA Fact Sheet and the opportunity to ask questions.
         Notify the SGH. (Note: IAW FDA guidance, COMIRNATY® has the same formulation
         and can be used interchangeably with the FDA-authorized Pfizer-BioNTech COVID-19
         Vaccine. Providers can use doses distributed under the EUA to administer the
         vaccination series as if the doses were the licensed vaccine.)

         5.3.2.2. SGH will ensure appropriate commanders are aware of refusals.

         5.3.2.3. Vaccine refusal should be handled with the appropriate regard to the individual’s
         privacy.
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           ATTACHMENT 1 – RELIGIOUS ACCOMMODATION REQUESTS

     Post-Accession Immunization Exemption Requests
              STEPS                                NOTES
     1     Member requests             Include, at a minimum, the name, grade, DoD Identification number,
           exemption of                faith group, unit, and specialty code of the Airman or Guardian; the
           immunization                nature of the accommodation requested; the religious basis for the
           requirements via letter     request; a comment on the sincerity of the request; and the substantial
           addressed to the            burden on the member’s expression of religion. (DAFI 52-201, par. 5.3)
           appropriate approval               Example at DAFI 52-201, Attachment 6.
           authority                          Decision authority is member’s MAJCOM/FLDCOM, DRU
           (MAJCOM/FLDCOM) for                   or FOA commander (DAFI 52-201, par. 6.6.1)
           immunizations)                     Member has a temporary exemption from immunization while
                                                 request is processing (DAFI 52-201, par. 2.12)
     2     Unit commander counsels     CC should counsel member that noncompliance with immunization
           the requestor after         requirements may adversely affect readiness for deployment,
           receiving the request       assignment, international travel, or result in other administrative
                                       consequences (DAFI 52-201, par. 6.6.1.1)

                                       CC’s counseling must be documented in a memorandum and included
                                       with the religious accommodation request package.
     3     Military medical provider   Counseling must be documented in a memorandum and included with
           counsels the requestor      the request package (DAFI 52-201, par. 6.6.1.)

                                       Military provider must ensure member is making an informed decision
                                       and should address, at minimum, specific info about the disease
                                       concerned, specific vaccine info (including product constituents,
                                       benefits, risks), and potential risks of infection for unimmunized
                                       individuals (AFI 48-110, para 2-6b.(3)(a)2.)
     4     Military Chaplain           Chaplain must complete Interview Checklist (Attachment 5) and draft
           interviews the              written memo (DAFI 52-201, par. 5.4)
           requestor
     5     Submit package to the       At Installation level, the RRT will include the commander (or
           Religious Resolution Team   designee), Senior Installation Chaplain (or equivalent), public affairs
           (RRT) for review.           officer, and staff judge advocate, and a medical provider (DAFI 52-
                                       201, par. 3.8.1.1)

                                       Wing/Delta Chaplain, as lead for RRT, shall write the memo to the
                                       decision authority detailing the RRT recommendation and any dissenting
                                       views of
                                       others (DAFI 52-201, par. 5.6.3)
     6     Staff judge advocate will   The review will also state whether the request and enclosures are
           draft a written legal       complete within the provisions of the DAFI 52-201.
           review.
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     7     Each commander shall         Endorsements must address (DAFI 52-201, par. 6.6.1.5):
           endorse the request with         If there is a compelling government interest and any effect the
           recommendation for                  accommodation will have on readiness, unit cohesion, good
           approval or disapproval             order and discipline, health, or safety, and impact on the duties
           and forward through the             of the member
           chain of command to the          whether less restrictive means can be used to meet the
           decision authority.                 government’s compelling government interest
                                            30 business days for CONUS requests (60 business days for
                                               OCONUS requests and requests from Reserve Component
                                               members not on active duty) from the date of submission to unit
                                               to final action by MAJCOM/FLDCOM commander and
                                               notification to the member (DAFI 52-201, Table 2.1)

                                        NOTE: Although AFI 48-110 says the AF only grants temporary
                                        immunization exemptions, the newer DAFI 52-201 states that approvals
                                        will remain in effect during follow-on duties, assignments, or locations,
                                        and for the duration of a Service member’s military career. However,
                                        there may be a change in circumstances that requires the
                                        accommodation to be reevaluated in the future (e.g., deployment, new
                                        duties, or other material change in circumstances). (DAFI 52-201, par.
                                        5.7.2)
                                               DAFI 52-201, par. 5.7.3. New requests for the same
                                                  accommodation are not necessary upon new assignment,
                                                  transfer of duty stations, temporary duty, or other significant
                                                  changes in circumstances, including deployment unless noted on
                                                  the approval memorandum.DAFI 52-201, par. 5.7.4. Approved
                                                  accommodations will continue unless the member’s commander
                                                  determines a compelling government interest exists requiring a
                                                  temporary or permanent withdrawal of the approval. (T-1).
     8     MAJCOM/FLDCOM,               If denial - he/she will indicate so on the memorandum, indicate the
           DRU, or FOA                  reasoning for disapproval and forward it to the servicing FSS (DAFI 52-
           commander determines         201, par. 6.6.1.6).
           whether approval, or
           partial / complete denial
           is
           appropriate

     9     Servicing FSS ensures a      DAFI 52-201, par. 6.6.1.6
           copy of the final decision
           is included in the
           member’s automated
           personnel
           records.


     10    Member’s commander           DAFI 52-201, par. 6.6.1.6
           should notify the
           member
           of the final decision.
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     11    Member may appeal            Member shall address a memorandum to the appeal authority with a
           decision to AF/SG            copy given to the previous disapproval authority and provide the
                                        memorandum to the unit commander for processing (DAFI 52-201, par.
                                        5.8.2)

                                        AF/SG is ultimate appeal authority for immunization exemptions (DAFI
                                        52-201, Table 6.1)

                                        30 business days to resolve appeal (DAFI 52-201, par. 2.10)


     Checklist for Required Package Items
           Member’s request letter (DAFI 52-201, par. 5.3 and 6.6.1)
           Unit CC’s Written Counseling w/ requestor (DAFI 52-201, par. 6.6.1.1)
           Chaplain’s Interview Memo w/ requestor (DAFI 52-201, par. 5.4 and 4.2.7)
           Military Medical Provider Counseling Memo w/ requestor (DAFI 52-201, par. 6.6.1.2 and AFI 48-110,
           par. 2-6b.(3)(a)2.)
           SJA Legal Review (DAFI 52-201, par. 5.6.2)
           RRT’s Recommendation from Wing Chaplain to Unit CC (DAFI 52-201, par. 5.6.1 and 6.6.1.3)
           Chain of Command Recommendations (DAFI 52-201, par. 6.6.1.5). NOTE: there may be a change in
           circumstances that requires the accommodation to be reevaluated in the future (e.g., deployment,
           new duties, or other material change in circumstances). (DAFI 52-201, par. 5.7.2). We recommend CC
           endorsements consider whether to include any recommended circumstances that would require
           reevaluation (such as overseas PCS or deployments).
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                    ATTACHMENT 2 - MEDICAL EXEMPTION REQUESTS
    Immunization Medical Exemption Requests
    STEPS                         NOTES
    1 Member requests medical     - Member notifies commander of possible contraindication to vaccine
      exemption of COVID-19
      immunization requirements
    2 Unit commander ensures
      member is evaluated by
      military medical provider



    3 Military medical provider   - Provider evaluates potential contraindication based on the health of
      evaluates member              vaccine candidate and the nature of the vaccine under consideration;
                                    counsels member on vaccine compliance
    4 Medical provider makes      - Provider documents exemption in ASIMS and electronic health record
      determination
    5 Commander reviews ASIMS     - Commander has awareness of member’s readiness status
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                      EXHIBIT
                      12 SecDef
                      Memo
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                         EXHIBIT13
                         DON BU/MED
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                                    DEPARTMENT OF THE NAVY
                                   BUREAU OF MEDICINE AND SURGERY
                                      7700 ARLINGTON BOULEVARD
                                        FALLS CHURCH VA 22042


                                                                            IN REPLY REFER TO

                                                                            6300
                                                                            Ser M00/21M00035
                                                                            3 Sep 21

   MEMORANDUM FOR COMMANDER, NAVAL MEDICAL FORCES ATLANTIC
                  COMMANDER, NAVAL MEDICAL FORCES PACIFIC
                  COMMANDER, NAVAL MEDICAL FORCES SUPPORT
                    COMMAND

   Subj: INTERCHANGABILITY OF FOOD AND DRUG ADMINISTRATION-APPROVED
         PFIZER-BIONTECH VACCINE COMIRNATY® AND FOOD AND DRUG
         ADMINISTRATION-AUTHORIZED PFIZER-BIONTECH VACCINE UNDER
         EMERGENCY USE AUTHORIZATION

   Ref:   (a) Comirnaty® Biologics License Application
          (b) Emergency Use Authorization for Pfizer-BioNTech COVID-19 vaccine of
              23 Aug 2021

   1. Purpose. Address the interchangeability of the Food and Drug Administration (FDA)-
   approved Comirnaty® and FDA-authorized Pfizer-BioNTech Coronavirus Disease 2019
   (COVID-19) vaccine.

   2. Background. On 23 August 2021, the FDA approved the Biologics License Application
   submitted by Pfizer-BioNTech for individuals 16 years of age and older, reference (a). On the
   same day the FDA revised the Emergency Use Authorization (EUA) for the Pfizer-BioNTech
   COVID-19 vaccine for individuals 12-15 years of age and for a third dose in
   immunocompromised individuals, reference (b).

   3. The FDA-approved vaccine, and the vaccine used under the EUA, have the same
   formulation, and can be used interchangeably to provide the COVID-19 vaccination series
   without presenting any safety or effectiveness concerns. Navy medical providers can use Pfizer-
   BioNTech doses previously distributed under the EUA to administer mandatory vaccinations.




   Copy to:
   COMPACFLT
   COMUSFLTFORCOM
   OPNAV (N3N5)
   HQMC HS
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                  EXHIBIT 14
                  Dr.
                  McCullough
                  Affidavit
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. ___________________




                                     A.


   I, Doctor         McCullough, MD, MPH, being duly sworn, depose and state as follows:
          1.     I make this affidavit in support of the above referenced Complaint as expert
   testimony in support thereof.
           2.     The expert opinions expressed here are my own and arrived at from my
   persons, professional and educational experiences taken in context, where appropriate, by
   scientific data, publications, treatises, opinions, documents, reports and other information
   relevant to the subject matter.



          3.    I am competent to testify to the facts and matters set forth herein. A true and
   accurate copy of my                 is attached hereto as            .

           4.     After receiving a bachelor’s degree from Baylor University, I completed my
   medical degree as an Alpha Omega Alpha graduate from the University of Texas
   Southwestern Medical School in Dallas. I went on to complete my internal medicine
   residency at the University of Washington in Seattle, a cardiology fellowship including
   service as Chief Fellow at William Beaumont Hospital, and a master’s degree in public health
   at the University of Michigan.

          5.     I am board certified in internal medicine and cardiovascular disease and hold
   an additional certification in clinical lipidology, and previously echocardiography. I am on
   the active medical staff at Baylor University Medical Center and Baylor Jack and Jane
   Hamilton Heart and Vascular Hospital, in Dallas, Texas. I am also on staff at Baylor Heart and
   Vascular Institute, which promotes cardiovascular research and education. I practice
   internal medicine and clinical cardiology as well as teach and conduct research, and I am an
   active scholar in medicine with roles as an author, editorialist, and reviewer for dozens of
   major medical journals and textbooks. I am Professor of Medicine at Texas Christian
   University and the University of North Texas Health Sciences Center School of Medicine.

         6.     I have led clinical, education, research, and program operations at major
   academic centers (Henry Ford Hospital, Oakland University William Beaumont School of
   Medicine) as well as academically oriented community health systems. I spearheaded the
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   clinical development of            natriuretic peptide and neutrophil gelatinase associated
   lipocalin assays in diagnosis, prognosis, and management of heart and kidney disease now
   used worldwide. I also led the first clinical study demonstrating the relationship between
   severity of acute kidney injury and mortality after myocardial infarction. I have contributed
   to the understanding of the epidemiology of chronic heart and kidney disease through many
   manuscripts from the Kidney Early Evaluation Program Annual Data Report published in the
   American Journal of Kidney Disease and participated in clinical trial design and execution in
   cardiorenal applications of acute kidney injury, hypertension, acute coronary syndromes,
   heart failure, and chronic cardiorenal syndromes. I participated in event adjudication
   (involved attribution of cause of death) in trials of acute coronary syndromes, chronic kidney
   disease, heart failure, and data safety and monitoring of anti-diabetic agents, renal
   therapeutics, hematology products, and gastrointestinal treatments. I have served as the
   chairman or as a member of over twenty randomized trials of drugs, devices, and clinical
   strategies. Sponsors have included pharmaceutical manufacturers, biotechnology
   companies, and the National Institutes of Health.

           7.     I frequently lecture and advise on internal medicine, nephrology, and
   cardiology for leading institutions worldwide. I am recognized by my peers for my work on
   the role of chronic kidney disease as a cardiovascular risk state. I have over 1,000 related
   scientific publications, including the “Interface between Renal Disease and Cardiovascular
   Illness” in Braunwald’s Heart Disease Textbook. My works have appeared in the New
   England Journal of Medicine, Journal of the American Medical Association, and other top-tier
   journals worldwide. I am an associate editor of the American Journal of Cardiology and the
   American Journal of Kidney Diseases. I have testified before the U.S. Senate Committee on
   Homeland Security and Governmental Affairs, the U.S. Food and Drug Administration
   Cardiorenal Advisory Panel and its U.S. Congressional Oversight Committee, and the Texas
   Senate Committee on Health and Human Services.

           8.    I am a Fellow of the American College of Cardiology, the American Heart
   Association, the American College of Physicians, the American College of Chest Physicians,
   the National Lipid Association, and the National Kidney Foundation. I am also a Diplomate
   of the American Board of Clinical Lipidology.

              9.In 2013, I was honored with the International Vicenza Award for Critical Care
   Nephrology for my contribution and dedication to the emerging problem of cardiorenal
   syndromes. I am the President of the Cardiorenal Society of America, an organization
   dedicated to bringing together cardiologists and nephrologists, and I engage in research,
   improved quality of care, and community outreach to patients with both heart and kidney
   disease. 1

              10.I am the current President of the Cardiorenal Society of America, a
   professional organization dedicated to advancing research and clinical care for patients who
   have combined heart and kidney disease. I am the Editor-in-Chief of                       ,a

   1
       See http://www.cardiorenalsociety.org/.
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   primary research journal listed by the National Library of Medicine which is the only
   publication with a primary focus on research concerning patients with combined heart and
   kidney disease. Finally, I am the Editor-in-Chief of                                cine, a
   widely read journal that publishes reviews on contemporary topics in cardiology and is also
   listed by the National Library of Medicine.

           11.    My appended                      further demonstrates my academic and
   scientific achievements and provides a list of publications authored by me over the past
   thirty years.

           12.    Since the outset of the pandemic, I have been a leader in the medical response
   to the COVID-19 disaster and have published “Pathophysiological Basis and Rationale for
   Early Outpatient Treatment of SARS-CoV-2 (COVID-19) Infection,” the first synthesis of
   sequenced multidrug treatment of ambulatory patients infected with SARS-CoV-2 in the
                                    and updated in                                       . 2 I have
   forty-seven peer-reviewed publications on the COVID-19 infection cited in the National
   Library of Medicine. Through a window to public policymakers, I have contributed
   extensively on issues surrounding the COVID-19 crisis in a series of OPED’s for                I
   testified on the SARS-CoV-2 outbreak in the U.S. Senate Committee on Homeland Security
   and Governmental Affairs on November 19, 2020. I testified on lessons learned from the
   pandemic response in the Texas Senate Committee on Health and Human Services on March
   10, 2021, and on early treatment of COVID-19 for the Colorado General Assembly on March
   31, 2021. Additionally, I testified in the New Hampshire Senate on legislation concerning the
   investigational COVID-19 vaccine on April 14, 2020. My expertise on the SARS-CoV-2
   infection and COVID-19 syndrome, like that of infectious disease specialists, is approximately
   eighteen months old. I have formed my opinions based upon my direct clinical experience
   with acute and convalescent COVID-19 cases as well as on closely following the preprint and
   published literature on the outbreak. I have additionally, specifically reviewed all of the key
   published rare cases and reports concerning possible recurrence of SARS-CoV-2.


           Opinion


   2
     McCullough PA, Kelly RJ, Ruocco G, Lerma E, Tumlin J, Wheelan KR, Katz N, Lepor NE, Vijay K, Carter H,
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   McKinnon JE, O'Neill WW, Zervos M, Risch HA. Pathophysiological Basis and Rationale for Early Outpatient
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   Vliet EL, Wax CM, Wolkoff AG, Wooll V, Zelenko V. Multifaceted highly targeted sequential multidrug treatment
   of early ambulatory high-risk SARS-CoV-2 infection (COVID-19). Rev Cardiovasc Med. 2020 Dec 30;21(4):517-
   530. doi: 10.31083/j.rcm.2020.04.264. PMID: 33387997 available at https://pubmed.ncbi.nlm.nih.gov/33387997/.
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          13.   I have reviewed the Complaint for Declaratory Judgment which delineates the
   subject matter relating to proposed acts by the United States Department of Defense to
   compel Investigative New Drugs under the Emergency Use Authorization to the members of
   the Armed forces that have contracted and recovered from the Covid-19 virus.

         14.    I am competent to opine on the medical aspects of these allegations based
    upon my above-referenced education and professional medical experience and the basis of
    my opinions are formed as a result of my education and experience.

        15.    As a Medical Doctor and scientist in the biological health and treatment of
    human beings, I confirm and attest that:

         a) the fatality rate of the Covid- 19 virus, or any variation thereof, including the so
            called “Delta” or “Lambda” (hereinafter “Virus”) is .0046% across combined age
            groups in the United States;

         b) the fatality rate associated with the Virus does not meet the definition of a
            “Pandemic” as declared by the Defendants World Health Organization, Centers for
            Disease Control and Prevention, The National Institutes of Health or any other
            governmental or non-governmental agency or entity acting with authority to
            make such a declaration;

         c) there are widely available methods to reduce the risk of infection with SARS-CoV-
            2 including anti-infective oral and nasal sprays and washes, oral medications, and
            outpatient monoclonal antibodies, which are “approved” drugs by the Food and
            Drug Administration and highly effective in preventing and treating the Virus;
            (references:          https://www.amjmed.com/article/S0002-9343(20)30673-
            2/fulltext; & https://rcm.imrpress.com/EN/10.31083/j.rcm.2020.04.264, &
            https://doi.org/10.23958/ijirms/vol06-i03/1100;

         d) Of those people that have already contracted and recovered from the Virus there
            is no better protection against reinfection, including the foregoing named
            therapeutics.

         e) In fact, more than thirty percent (+30%) of the global population have already had
            and recovered from the Virus due to its highly contagious and extremely low
            mortality rate. Indeed, the Virus as an isolated infection is substantially less fatal
            than any year’s normal flu or Corona Virus.

         f) Multiple studies, including but not limited to: “Immunological memory to SARS-
            CoV-2 assessed for greater than six months after infection;” “SARS-CoV-2
            infection induces long-lived bone marrow plasma cells in humans;” “Exposure to
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                  EXHIBIT 15
                  Cleveland
                  Clinic Study
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     Necessity of COVID-19 vaccination in previously infected individuals

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     4
         Occupational Health, Cleveland Clinic, Cleveland, Ohio.



     Keywords: SARS-CoV-2; COVID-19; Incidence; Vaccines; Immunity;

     Running Title: COVID-19 vaccination if already infected



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     Summary: Cumulative incidence of COVID-19 was examined among 52238 employees in an American

     healthcare system. COVID-19 did not occur in anyone over the five months of the study among 2579

     individuals previously infected with COVID-19, including 1359 who did not take the vaccine.




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          NOTE: This preprint reports new research that has not been certified by peer review and should not be used to guide clinical practice.
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     ABSTRACT


     Background.         The purpose of this study was to evaluate the necessity of COVID-19 vaccination in

     persons previously infected with SARS-CoV-2.

     Methods.            Employees of the Cleveland Clinic Health System working in Ohio on Dec 16, 2020, the

     day COVID-19 vaccination was started, were included. Any subject who tested positive for SARS-CoV-2

     at least 42 days earlier was considered previously infected. One was considered vaccinated 14 days after

     receipt of the second dose of a SARS-CoV-2 mRNA vaccine. The cumulative incidence of SARS-CoV-2

     infection over the next five months, among previously infected subjects who received the vaccine, was

     compared with those of previously infected subjects who remained unvaccinated, previously uninfected

     subjects who received the vaccine, and previously uninfected subjects who remained unvaccinated.

     Results.            Among the 52238 included employees, 1359 (53%) of 2579 previously infected subjects

     remained unvaccinated, compared with 22777 (41%) of 49659 not previously infected. The cumulative

     incidence of SARS-CoV-2 infection remained almost zero among previously infected unvaccinated

     subjects, previously infected subjects who were vaccinated, and previously uninfected subjects who were

     vaccinated, compared with a steady increase in cumulative incidence among previously uninfected

     subjects who remained unvaccinated. Not one of the 1359 previously infected subjects who remained

     unvaccinated had a SARS-CoV-2 infection over the duration of the study. In a Cox proportional hazards

     regression model, after adjusting for the phase of the epidemic, vaccination was associated with a

     significantly lower risk of SARS-CoV-2 infection among those not previously infected (HR 0.031, 95%

     CI 0.015 to 0.061) but not among those previously infected (HR 0.313, 95% CI 0 to Infinity).

     Conclusions.        Individuals who have had SARS-CoV-2 infection are unlikely to benefit from COVID-19

     vaccination, and vaccines can be safely prioritized to those who have not been infected before.




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     INTRODUCTION


               The two FDA-approved (BNT162b2 mRNA [Pfizer-BioNTech] and mRNA-1273 [Moderna])

     mRNA vaccines have been shown to be very efficacious in protecting against Severe Acute Respiratory

     Syndrome (SARS) – associated Coronavirus-2 (SARS-CoV-2) infection [1,2]. The effectiveness of the

     Pfizer-BioNTech vaccine in a real-world setting has also been shown to be comparable to the efficacy

     demonstrated in clinical trials [3,4]. Given these, there has been an understandable desire to vaccinate as

     many people as possible.

               The ability to vaccinate a large part of the population is limited by the supply of vaccine. As of

     March 21, 2021, 78% of 447 million doses of the coronavirus disease 2019 (COVID-19) vaccines that

     had been deployed had gone to only ten countries [5]. The COVAX initiative was borne out of the

     recognition that equitable distribution of vaccines worldwide was essential for effective control of the

     COVID-19 pandemic. However, the reality is that there is great disparity in the availability of vaccines

     across countries. Countries with limited supplies of vaccine have to prioritize how their supply of

     vaccines will be allocated within their populations. Criteria used for such prioritization have included

     profession, age, and comorbid conditions. Data that inform prioritization criteria with help maximize the

     benefits of whatever vaccine is available.

               Observational studies have found very low rates of reinfection among individuals with prior

     SARS-CoV-2 infection [6–8]. This brings up the question about whether it is necessary to vaccinate

     previously infected individuals. These studies notwithstanding, there remains a theoretical possibility that

     the vaccine may still provide some benefit in previously infected persons. A prior large observational

     study concluded that immunity from natural infection cannot be relied on to provide adequate protection

     and advocated for vaccination of previously infected individuals [9]. The CDC website recommends that

     persons previously infected with SARS-CoV-2 still get the vaccine [10]. Despite these recommendations,

     credible reports of previously infected persons getting COVID-19 are rare. The rationale often provided

     for getting the COVID-19 vaccine is that it is safer to get vaccinated than to get the disease. This is


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     certainly true, but it is not an explanation for why people who have already had the disease need to be

     vaccinated. A strong case for vaccinating previously infected persons can be made if it can be shown that

     previously infected persons who are vaccinated have a lower incidence of COVID-19 than previously

     infected persons who did not receive the vaccine.

               The purpose of this study was to attempt to do just that, and thereby evaluate the necessity of the

     COVID-19 vaccine in persons who were previously infected with SARS-CoV-2.




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     METHODS


     Study design

               This was a retrospective cohort study conducted at the Cleveland Clinic Health System in Ohio,

     USA. The study was approved by the Cleveland Clinic Institutional Review Board. A waiver of informed

     consent and waiver of HIPAA authorization were approved to allow access to personal health information

     by the research team, with the understanding that sharing or releasing identifiable data to anyone other

     than the study team was not permitted without additional IRB approval.




     Setting

               PCR testing for SARS-CoV-2 at Cleveland Clinic began on March 12, 2020, and a streamlined

     process dedicated to the testing of health care personnel (HCP) was begun shortly thereafter. All

     employees with a positive SARS-CoV-2 test were interviewed by Occupational Health, with date of onset

     of symptoms of COVID-19 being one of the questions asked. Vaccination for COVID-19 began at

     Cleveland Clinic on December 16, 2020. When initially started it was the Pfizer-BioNTech vaccine that

     was administered, until the Moderna vaccine became available, from which time employees received one

     or the other. All employees were scheduled to receive their second vaccine dose 28 days after the first

     one, regardless of which vaccine was given. The employee cohort was chosen for this study because of

     documentation of their COVID-19 vaccination and of any SARS-CoV-2 infection in the Occupational

     Health database.




     Participants

               All employees of the Cleveland Clinic Health System, working in Ohio, on Dec 16, 2020, were

     screened for inclusion in the study. Those who were in employment on December 16, 2020, were

     included.

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     Variables

               SARS-CoV-2 infection was defined as a positive nucleic acid amplification test. The date of

     infection was taken to be the date of onset of symptoms when available, and the date of specimen

     collection when not. A person was considered vaccinated 14 days after receipt of the second dose of the

     vaccine (which would have been 42 days after receipt of the first dose of the vaccine for most subjects).

     For the sake of consistency in the duration assumed for development of natural and vaccine immunity,

     any person who tested positive for SARS-CoV-2 at least 42 days before the vaccine rollout date, was

     considered previously infected. Other covariates collected were age, job location, job type (patient-facing

     or non-patient facing), and job category. The job location variable could be one of the following:

     Cleveland Clinic Main Campus, regional hospital (within Ohio), ambulatory center, administrative center,

     or remote location. The job category was one of the following: professional staff, residents/fellows,

     advance practice practitioners, nursing, pharmacy, clinical support, research, administration, and

     administration support.




     Outcome

               The study outcome was time to SARS-CoV-2 infection, the latter defined as a positive nucleic

     acid amplification test for SARS-CoV-2 on or after December 16, 2020. Time to SARS-CoV-2 infection

     was calculated as number of days from December 16, 2020 (vaccine rollout date) to SARS-CoV-2

     infection. Employees that had not developed a SARS-CoV-2 infection were censored at the end of the

     study follow-up period (May 15, 2021). Those who received the Johnson & Johnson vaccine (81 subjects)

     without having had a SARS-CoV-2 infection were censored on the day of receipt of the vaccine, and

     those whose employment was terminated during the study period before they had SARS-CoV-2 infection

     (2245 subjects) were censored on the date of termination of employment. The health system never had a

     requirement for asymptomatic employee test screening. Most of the positive tests, therefore, would have

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     been tests done to evaluate suspicious symptoms. A small proportion would have been tests done as part

     of pre-operative or pre-procedural screening.




     Statistical analysis

               A Simon-Makuch hazard plot [11] was created to compare the cumulative incidence of SARS-

     CoV-2 infection among previously infected subjects who were vaccinated, with those of previously

     infected subjects who remained unvaccinated, previously uninfected subjects who were vaccinated, and

     previously uninfected subjects who remained unvaccinated. Previous infection was treated as a time-

     independent covariate (SARS-CoV-2 infection at least 42 days before Dec 16, 2020), and vaccination (14

     days after receipt of the second dose of the vaccine) was treated as a time-dependent covariate (Figure 1).

     Curves for the unvaccinated were based on data for those who did not receive the vaccine over the

     duration of the study, and for those who did until the date they were considered vaccinated, from which

     point onwards their data were recorded into the corresponding vaccinated set. A Cox proportional hazards

     regression model was fitted with time to SARS-CoV-2 infection as the outcome variable against

     vaccination (as a time-dependent covariate whose value changed on the date a subject was considered

     vaccinated)[12]. Previous infection (as a time-independent covariate) and an interaction term for previous

     infection and vaccination were included as covariates. The phase of the epidemic was adjusted for by

     including the slope of the epidemic curve as a time-dependent covariate whose value changed

     continuously with the slope of the epidemic curve. The analysis was performed by NKS and ASN using

     the survival package and R version 4.0.5 [12–14].




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     RESULTS


               Of 52238 employees included in the study, 2579 (5%) were previously infected with SARS-CoV-

     2.




     Baseline characteristics

               Those previously infected with SARS-CoV-2 were significantly younger (mean ± SD age; 39 ±

     13 vs. 42 ± 13, p<0.001), and included a significantly higher proportion with patient-facing jobs (65% vs.

     51%, p<0.001). Table 1 shows the characteristics of subjects grouped by whether or not they were

     previously infected. A significantly lower proportion of those previously infected (47%, 1220 subjects)

     were vaccinated by the end of the study compared to 59% (29461) of those not previously infected

     (p<0.001). Of those vaccinated, 63% received the Moderna vaccine. Twelve percent of subjects with

     previous SARS-CoV-2 infection did not have a symptom onset date, suggesting they may possibly have

     been identified on pre-operative or pre-procedural screening, and may not have had symptomatic

     infection. When vaccination was begun, the epidemic in Ohio was at the peak of its third wave (Figure 2).




     Cumulative incidence of COVID-19

               Figure 3 is a Simon-Makuch plot showing that SARS-CoV-2 infections occurred almost

     exclusively in subjects who were not previously infected with SARS-CoV-2 and who remained

     unvaccinated. The cumulative incidence of SARS-CoV-2 infection among previously infected

     unvaccinated subjects did not differ from that of previously infected subjects who were vaccinated, and

     that of previously uninfected subjects who were vaccinated. For all three of these groups, the cumulative

     incidence of SARS-CoV-2 infection was much lower than that of subjects who were not previously

     infected and who remained unvaccinated. Of the 2154 SARS-CoV-2 infections during the study period,

     2139 (99.3%) occurred among those not previously infected who remained unvaccinated or were waiting


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     to get vaccinated, and15 (0.7%) occurred among those not previously infected who were vaccinated. Not

     one of the 2579 previously infected subjects had a SARS-CoV-2 infection, including 1359 who remained

     unvaccinated throughout the duration of the study.




     Association of vaccination with occurrence of COVID-19

               In a Cox proportional hazards regression model, after adjusting for the phase of the epidemic,

     vaccination was associated with a significantly lower risk of SARS-CoV-2 infection among those not

     previously infected (HR 0.031, 95% CI 0.015 – 0.061) but not among those previously infected (HR

     0.313, 95% CI 0 – Infinity). The absence of events among those who were previously infected, whether

     they received the vaccine or not, precluded accurate or precise estimates for the latter effect size.




     Duration of protection

               This study was not specifically designed to determine the duration of protection afforded by

     natural infection, but for the previously infected subjects the median duration since prior infection was

     143 days (IQR 76 – 179 days), and no one had SARS-CoV-2 infection over the following five months,

     suggesting that SARS-CoV-2 infection may provide protection against reinfection for 10 months or

     longer.




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     DISCUSSION


               This study shows that subjects previously infected with SARS-CoV-2 are unlikely to get COVID-

     19 reinfection whether or not they receive the vaccine. This finding calls into question the necessity to

     vaccinate those who have already had SARS-CoV-2 infection.

               It is reasonable to expect that immunity acquired by natural infection provides effective

     protection against future infection with SARS-CoV-2. Observational studies have indeed found very low

     rates of reinfection over the following months among survivors of COVID-19 [6–8]. Reports of true

     reinfections are extremely rare in the absence of emergence of new variants. When such reinfections

     occur, it would be purely speculative to suggest that a vaccine might have prevented them. Duration of

     protective immunity from natural infection is not known. However, the same also can be said about

     duration of protective immunity from vaccination. Uncertainty about the duration of protective immunity

     afforded by natural infection is not by itself a valid argument for vaccinating previously infected

     individuals. This study provides direct evidence that vaccination with the best available vaccines does not

     provide additional protection in previously infected individuals.

               A prior study concluded that natural infection cannot be relied on to protect against COVID-19

     [9]. That study was based on comparison of PCR-positivity rates during a second COVID-19 surge in

     Denmark between those who tested positive and negative during the first COVID-19 surge, and indirectly

     calculated that prior infection provided 80.5% protection against repeat infection, and that protection

     against those older than 65 years was only 47.1%. The study did not compare vaccinated and

     unvaccinated people, and it is therefore an assumption to consider that a vaccine would have provided

     better protection in that particular population. Furthermore, there was a gap of only seven weeks between

     the end of the first surge and the beginning of the second in that study. It is now well-known that a small

     number of people can continue to have positive PCR test results for several weeks to a few months after

     infection, one study finding that 5.3% remained positive at 90 days [15]. It is possible that some of the

     positives picked up in the early part of the second surge were not necessarily new infections but residual


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     virus from the tail end of the first surge. Since the actual number of infections was small, a few such

     misclassifications could change the rates substantially. Our study examined rates of SARS-CoV-2

     infection in vaccinated and unvaccinated individuals and showed that those previously infected who did

     not receive the vaccine did not have higher rates of SARS-CoV-2 infection than those previously infected

     who did, thereby providing direct evidence that vaccination does not add protection to those who were

     previously infected.

               There are several strengths to our study. Its large sample size and follow-up of up to 5 months

     provide us with an ample degree of confidence in its findings. A major strength of our study is that we

     adjusted the analyses for the phase of the epidemic at all time points. The risk of acquisition of infection

     is strongly influenced by the phase of the epidemic at any given time, and it is important to adjust for this

     for accurate risk analyses. Given that was this a study among employees of a health system, and that the

     health system had policies and procedures in recognition of the critical importance of keeping track of the

     pandemic among its employees, we had an accurate accounting of who had COVID-19, when they were

     diagnosed with COVID-19, who received a COVID-19 vaccine, and when they received it.

               The study has its limitations. Because we did not have a policy of asymptomatic employee

     screening, previously infected subjects who remained asymptomatic might have been misclassified as

     previously uninfected. Given this limitation, one should be cautious about drawing conclusions about the

     protective effect of prior asymptomatic SARS-CoV-2 infection. It should be noted though, that 12% of

     the subjects classified as previously infected did not have a symptom onset date recorded, suggesting that

     at least some of those classified as previously infected might have been asymptomatic infections. It is

     reassuring that none of these possibly asymptomatically infected individuals developed COVID-19 during

     the duration of the study. The study follow-up duration was short, being only five months, but this was

     longer than published mRNA vaccine efficacy studies [1,2], and longer than the follow-up duration of the

     largest published vaccine effectiveness studies to date [3,4]. Median freedom from reinfection (time from

     initial infection until end of follow-up) in this study, for those previously infected, of almost 10 months, is

     consistent with findings in an earlier study that immunoglobulin G (IgG) to the spike protein remained

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     stable over more than six months after an episode of infection [16]. Our study included no children and

     few elderly subjects, and the majority would not have been immunosuppressed. Data governance policies

     in our institution precluded us from obtaining detailed clinical information on employees. While one

     cannot generalize this study’s findings to assume that prior infection would provide adequate immunity in

     these groups, there is also no reason to expect a vaccine to provide additional protection in these same

     groups. Lastly, it is necessary to emphasize that these findings are based on the prevailing assortment of

     virus variants in the community during the study. It is not known how well these results will hold if or

     when some of the newer variants of concern become prominent. However, if prior infection does not

     afford protection against some of the newer variants of concern, there is little reason to suppose that the

     currently available vaccines would either. Vaccine breakthrough infections with variants have indeed

     been reported [17].

               Our study’s findings have important implications. Worldwide, COVID-19 vaccines are still in

     short supply. As of March 9, 2021, dozens of countries had not been able to administer a single dose of

     the vaccine [18]. As of May 17, 2021, only 17 countries had been able to reach ten percent or more of

     their populations with at least the first dose of vaccine [19]. Given such a scarcity of the vaccine, and the

     knowledge that vaccine does not provide additional protection to those previously infected, it would make

     most sense to limit vaccine administration to those who have not previously had the infection. In addition

     to profession, age, and comorbid conditions, previous infection should be an important consideration in

     deciding whom to prioritize to receive the vaccine. A practical and useful message would be to consider

     symptomatic COVID-19 to be as good as having received a vaccine, and that people who have had

     COVID-19 confirmed by a reliable laboratory test do not need the vaccine.

               In conclusion, individuals who have laboratory-confirmed symptomatic SARS-CoV-2 infection

     are unlikely to benefit from COVID-19 vaccination, and vaccines can be safely prioritized to those who

     have not been infected before.




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     TRANSPARENCY DECLARATION


     Conflict of Interest

     Selection of “no competing interests” reflects that all authors have completed the ICMJE uniform

     disclosure form at www.icmje.org/coi_disclosure.pdf and declare: no support from any organization for

     the submitted work; no financial relationships with any organizations that might have an interest in the

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     Author contributions

     NKS: Conceptualization, Methodology, Validation, Investigation, Data curation, Software, Formal

     analysis, Visualization, Writing- Original draft preparation, Writing- Reviewing and Editing, Supervision,

     Project administration.

     ASN: Methodology, Formal analysis, Visualization, Validation, Writing- Reviewing and Editing.

     PCB: Resources, Investigation, Validation, Writing- Reviewing and Editing.

     PT: Resources, Writing- Reviewing and Editing.

     SMG: Project administration, Resources, Writing- Reviewing and Editing.




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     TABLES


     Table 1. Study Subject Characteristics


     Characteristic                                        Previously Infected     Not Previously Infected               P Value

                                                                (N = 2579)                (N = 49659)

     Age, y, mean ± SD                                            39±13                       42±13                       <0.001

     Patient-facing job                                         1676 (65)                  25504 (51)                     <0.001

     Job location                                                                                                         <0.001

          Cleveland Clinic Main Campus                          1011 (39)                  19595 (40)

          Regional hospitals                                    1096 (43)                  16433 (33)

          Ambulatory centers                                     313 (12)                   7767 (16)

          Administrative centers                                 138 (5)                     4424 (9)

          Remote location                                        21 (<1)                     1440 (3)

     Job category                                                                                                         <0.001

         Professional staff                                       89 (4)                     3775 (8)

         Residents and fellows                                    72 (3)                     1669 (3)

         Advanced practice practitioners                         154 (6)                     2806 (6)

         Nursing                                                1142 (44)                  13623 (27)

         Pharmacy                                                 44 (2)                     1274 (3)

         Research                                                328 (13)                   6776 (14)

         Clinical support                                        111 (4)                     3500 (7)

         Administration                                          614 (24)                  15050(30)

         Administration support                                   25 (1)                     1186 (2)

     Data are presented as no. (%) unless otherwise indicated




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      FIGURES




      Figure 1. Explanation of “previously infected” analyzed as a time-independent covariate and

      “vaccinated” treated as a time-dependent covariate.




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     Figure 2. COVID-19 epidemic curve before and after vaccine rollout. Points on the scatter plot

     represent the proportion of all COVID-19 PCR tests done at Cleveland Clinic that were positive on any

     given day. The colored line represents a fitted polynomial curve.




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      Figure 3. Simon-Makuch plot showing the cumulative incidence of COVID-19 among subjects

      previously infected and not previously infected with COVID-19, who did and did not receive the

      vaccine. Curves for the unvaccinated are based on data for those who did not receive the vaccine during

      the duration of the study, and for those waiting to receive the vaccine. Day zero was Dec 16, 2020, the

      day vaccination was started in our institution. Error bars represent 95% confidence intervals. Seven

      subjects who had been vaccinated earlier as participants in clinical trials were considered vaccinated

      throughout the duration of the study. Twelve subjects who received their first dose in the first week of the

      vaccination campaign managed to get their second dose three weeks later, and were thus considered

      vaccinated earlier than 42 days since the start of the vaccination campaign.



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